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                        THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )             Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )


        DECLARATION OF THE PARS EQUALITY CENTER IN SUPPORT OF
            PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

Pursuant to Title 28 U.S.C. Section 1746, I, Sarvenaz Fahimi, hereby declare and state as
follows:
   1. I am over the age of eighteen years. I have personal knowledge of the facts set forth

       herein, and am competent to testify thereto.

   2. I am the Senior Director of the Legal Department at Pars Equality Center (Pars). In this

       capacity, I oversee the work of all of attorneys and Board of Immigration Appeals (BIA,

       now OLAP) accredited representatives.

   3. The Pars Equality Center is a 501(c)(3) non-profit dedicated to helping all members of

       the Iranian-American community and other Persian-speaking countries realize their full

       potential as informed, self-reliant, and responsible members of American society. Pars

       believes that learning and teaching the rights and responsibilities of citizenship in a

       democracy as well as the rules and rewards of entrepeneurship are the necessary

       ingredients for our success as a community. Pars achieves its mission primarily by

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        providing extensive social and legal services out of community centers. The

        organization’s Persian-speaking staff advocates for families and individuals in need with

        a strong focus on refugees, asylees, and those newcomers living in poverty. The Board of

        Directors of Pars are all of Iranian descent. Pars is based in California.

    4. While its focus is on the Iranian-American community, Pars does not close its doors to

        anyone seeking its services. Especially in its immigration services, Pars serves clients

        from various backgrounds and nationalities. In 2016, Pars provided 20,713 units of

        service1 across all of its locations, with the majority of clients of Iranian descent.

    5. Among other things, Pars provides mentorship and career development for Iranian-

        Americans. For example, Pars hosts a Silicon Valley career development techniques and

        best practices workshop, which covers resume writing, successful interviewing,

        information about the culture of the workforce in Silicon Valley, and how employees can

        make themselves an instant asset to potential employers. Pars also hosts a “Generation +”

        initiative that provides the younger generation of Iranians, both American-born and

        immigrants, with career mentors, peer mentors and career opportunities. Pars selects a

        broad array of mentors from the private, public, and art sectors, provides formal

        mentorship that connects younger Iranians with mentors that best fit that individual’s

        needs, and organizes social events to allow members of the community to bring together

        the community and facilitate career connections. Through its work with Generation +,

        Pars acts as a catalyst for social, cultural and economic integration of Iranians speaking

        communities to achieve their highest potential.




1
 A “unit of service” measures one service – for example, one workshop, one immigration-related consultation, or
one ESL class. One individual can receive multiple units of service from Pars.

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6. Pars provides various other social services to Iranian Americans and Persian speakers of

   all ages. Pars provides, among other things, English as a Second Language (ESL),

   citizenship, and resume writing/interview skills classes; computer training and access to

   employment resources including job fairs; assistance navigating the social and medical

   systems; and other services to improve the quality of the family’s life in our community.

   Through the Kordestani Family Fund, Pars also invests in the education of Iranian

   American youth by providing a grant each year to a student of Iranian descent graduating

   from high school in California with specific plans to continue their education in a College

   or University in California. Pars also has a Senior Program for Persian speaking

   immigrants over the age of 55 which includes interactive programs, tours and picnics to

   provide an uplifting and inspiring environment that these individuals can call home away

   from home.

7. The legal services provided by Pars are intended to provide community members the

   resources to become productive citizens by educating and advocating on behalf of

   individuals in the community. The legal staff members at Pars are either licensed

   attorneys or accredited Board of Immigration Appeals representatives, and they guide

   individuals through the immigration process and provide extensive legal services,

   including: citizenship, green card renewals, domestic violence based petitions, family

   relative petitions, travel documents, issues arising in the refugee context, and counselor

   processing.

8. Pars’s legal team also works on a national level to offer advice, analysis and legal

   research in other areas, including litigation, employment, family and sanction law issues.

   To this end, Pars works with other organizations, such as the Iranian American Bar



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      Association and the Public Affairs Alliance of Iranian Americans, across the United

      States to educate the community about relevant legal issues and advocate on behalf of

      Iranian Americans in the U.S.


Pars’ Frustration of Mission


  9. Pars is extremely concerned about the March 6 Executive Order because, like the January

      27 Executive Order before it, it will have a highly negative impact on both the

      community that we serve as well as the mission and purpose of our organization. For the

      reasons discussed below, enforcement of the March 6 Executive Order will harm Pars’

      mission in multiple ways and has already forced Pars to scramble to address its effect,

      thus causing Pars to divert valuable resources away from its usual activities.

  10. The goal of the legal services that Pars typically provides — to effectively use the

      immigration laws to advocate on behalf of immigrants, including immigrants from Iran,

      and to guide individuals through immigration processes — were crippled by the January

      27 Executive Order and will be crippled by the March 6 Executive Order if and when it is

      enforced. While Pars attorneys seek to provide concrete answers, at present the March 6

      Executive Order prevents them from informing those who seek their services what to

      expect with their or their family members’ pending visa applications, whether they

      should submit future petitions, whether current visa-holders with single-entry visas

      should travel outside of the United States for work or pleasure, and whether current visa-

      holders will be able to renew their visas to continue the lives they had planned in the

      United States. The assistance that Pars typically provides to individuals with their visa

      applications is severely delayed.



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11. Pars seeks to facilitate the social, cultural and economic integration of Iranians to achieve

   their highest potential while also staying connected to their Iranian heritage. However,

   the March 6 Executive Order, like the January 27 Executive Order before it, falsely

   singles out Iranians in the United States and those seeking to enter as a terrorist threat.

   Such a negative label on the Iranian-American community has already sown fear and

   anxiety in the community we serve. The stigma and discrimination that is caused by the

   January 27 and March 6 Executive Orders will exacerbate the challenges that immigrant

   groups, especially immigrants from primarily Muslim countries like Iran, already face in

   the United States.

12. Pars also seeks to elevate Iranians and Persian speakers to achieve their highest career

   potential in the United States. However, the March 6 Executive Order blocks the entry of,

   or forces the departure of, many Iranians who would otherwise have contributed to the

   vibrant and creative economy of the United States. For example, based on Pars’ programs

   relating to mentorship and career development, Generation +, and educational

   programming, I believe it is likely that the March 6 Executive Order will affect the

   decisions of employers, who may prefer not to hire or sponsor Iranian visa holders, or

   even legal permanent residents and dual citizens. In addition, the March 6 Executive

   Order will cause individuals with high levels of educational attainment – Master’s and

   PhD degree holders who are applying for H1B, or other business or student visas – to be

   denied visas or for their visas not to be renewed. Some of these educated individuals may

   also choose to leave the United States, even if it means leaving behind promising careers

   or degree programs, in order to be reunited with family who is not able to enter the

   United States.



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13. The psychological and emotional toll of the January 27 Executive Order, which the

   March 6 Executive Order only exacerbates, has come into stark relief in conversations

   between Pars staff and Iranian Americans. Entire families are experiencing profound

   disruption, given that the children of visa holders may be well-integrated into American

   life and culture, yet the Executive Order may soon force their parents to leave the United

   States if they are unable to renew their visas. In short, while Pars fights for families to

   establish themselves in their communities and for individuals to achieve their greatest

   career potential, the Executive Order is likely to cause family separation and a brain drain

   from the United States.

14. The purposes of Pars’ citizenship classes will also be undermined by the March 6

   Executive Order, just as they were undermined by the January 27 Executive Order. Pars

   teaches Iranian immigrants about the U.S. democratic system, and the rights and

   privileges that it bestows. The goal is for those who learn at Pars to become well-

   integrated, self-sufficient members of their communities. However, after the January 27

   Executive Order, Pars was unable to answer basic questions about what the U.S.

   government has in store for those entering the country from Iran and those currently in

   the United States on visas. The March 6 Executive Order does nothing to alleviate that

   uncertainty and concern. In fact, both of the Executive Orders share the same pernicious

   effects: they stigmatize and alienate the Iranian-American community and make many of

   its members feel as though the country they consider home is treating them like second-

   class citizens.

15. The January 27 and March 6 Executive Orders have made it difficult, if not impossible,

   for many individuals to plan their future lives in the United States. It has all but put hopes



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   of citizenship and permanent status out of reach for the most vulnerable populations that

   Pars serves — refugee applicants and asylum applicants. And for visa holders as well as

   dual citizens and permanent residents, the March 6 Executive Order means that they may

   not be able to have their family members join them in the United States as planned. The

   vast uncertainty, confusion, and deep fear caused by the January 27 Executive Order and

   perpetuated by the March 6 Executive Order has already manifested itself in great harm

   to the communities that Pars serves as well as the organization’s mission. That harm will

   only continue to deepen if and when the March 6 Executive Order is enforced.


Diversion of Resources Resulting from the January 27 Executive Order

16. Our organization suffered economic harm directly as a result of the January 27 Executive

   Order. Upon signing of the January 27 Executive Order, our legal services staff received

   twice the typical volume of calls, emails, in-person questions and other inquiries.

   Individuals of all legal statuses — dual citizens, green card holders, visa holders, those

   seeking protected status (VAWA, U Visa, 10751 with waiver), refugees and refugee

   applicants, and asylees and asyulum applicants, and others —called with fearful

   questions about themselves or their loved ones. Instead of our usual legal services, we

   focused almost completely on addressing unanswerable queries about the January 27

   Executive Order.

17. Our legal services team was inundated with constant telephone calls, emails, and

   messages. In the week following the signature of the January 27 Executive Order, I was

   forced to devote dozens of hours of my time solely to dealing with Order-related issues.

   In fact, the work of answering calls and answering the queries of individuals spilled over




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   to our social services team, which would typically make a referral to the legal services

   team, because legal services is so overwhelmed.

18. The individuals who contacted Pars as a result of the January 27 Executive Order

   included asylum applicants from Iran outside the United States who were unable to enter

   the United States, as well as those Iranians who had been granted refugee status in the

   United States but whose families were still abroad and now unable to join them.

19. Pars resources were also diverted from our typical programming. Instead of preparing

   and giving panels and presentations on topics of education, citizenship, and career, we

   were forced to present almost exclusively on the January 27 Executive Order and its

   impact on the Iranian American community. We spent significant time organizing with

   other groups and entering into coalitions to share information and be able to adequately

   inform the community about its effects.

20. As an example, one attorney at Pars was unable to work on any of the cases to which she

   was assigned before the January 27 Executive Order was signed. Instead, she spent all of

   her working time researching updates on the January 27 Executive Order and making

   presentations on its impact. For one of her presentations, she had to seek out the

   assistance of a psychologist who would counsel distraught individuals after her

   presentation.

21. Another attorney had to devote significant time completing research on the January 27

   Executive Order and basic constitutional analysis so that she could respond to queries

   received by Pars, instead of performing her regular job functions. Other staff members,

   particularly within Pars’ legal services branch, have spent their time educating




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   themselves about the January 27 Executive Order and regularly posting online about it

   for the benefit of the impacted community.


Pars’s Diversion of Resources and the Harm to Pars Constituents and Clients

Subsequent to the Washington v. Trump Order

22. After the court in Washington v. Trump, Case No. 2:17-cv-141-JLR (W.D. Wash.) issued

   an order temporarily restraining the Executive Order, and later construed that order as a

   preliminary injunction, Pars continued to be forced to divert its resources to address the

   ongoing effects of the January 27 Executive Order. Further, the January 27 Executive

   Order continued to frustrate the mission of Pars.

23. Many individuals continue to experience harm caused by the Executive Order since the

   time of the Washington v. Trump orders. For example, Pars was contacted by an

   individual whose spouse’s H1B visa had been approved prior to the Executive Order. The

   individuals’ spouse was waiting for USCIS to send her the approval letter to allow her

   visa to be processed at the U.S. Embassy in Beirut. Likely as a result of the Executive

   Order, however, the processing of her H1B visa was delayed. To date, the individual’s

   spouse has still not received any notice from USCIS and has been unable to travel into

   the United States. In the experience of immigration attorneys at Pars, the processing of a

   H1B visas generally did not take nearly this long prior to the January 27 Executive Order.

24. While administrative processing is typical in some cases, the volume of cases that Pars

   staff have seen placed into administrative processing is unusual, and, in the opinion of

   Pars immigration attorneys, likely due to the January 27 Executive Order. For example,

   members of the community served by Pars who have submitted I-130 petitions for alien

   relatives (immigrant visa petitions) have seen their cases placed into administrative


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   processing in the wake of the January 27 Executive Order. Despite numerous contacts to

   the relevant Embassies, these individuals are unable to move their petitions forward, get

   their cases released from administrative processing, or obtain any information about their

   cases.

25. Similarly, United States citizens at various stages of obtaining K-1 fiance visas for their

   overseas fiancés have experienced longer than expected delays. Some cases that were

   progressing prior to the Executive Order have been placed in administrative processing

   and are still delayed.

26. Many asylum applicants with pending asylum petitions contacted Pars because they are

   concerned about the status of their applications in the wake of the January 27 Executive

   Order and despite the Washington v. Trump order.

27. Numerous F-1 and H-1B visa holders expressed to Pars staff that they have a serious fear

   of traveling due to the uncertainty of their ability to return to the United States. Some of

   these individuals are choosing not to travel even in emergency situations. They are

   concerned that, if they are barred from reentering the United States, they will be unable to

   continue their education or work.

28. Further, a number of individuals consulted Pars about concerns with filing visa letters of

   invitation. Often, lawful permanent residents or U.S. citizens who seek to assist friends or

   relatives wishing to visit the U.S. on a non-immigrant visa will write a letter of invitation,

   to be submitted with the visa application, asserting that the friend or relative has a

   specific plan regarding his or her visit, and that the lawful permanent resident or U.S.

   citizen can provide financial support to the friend or relative if necessary. Letters of

   invitation often make it easier for the friend or relative to obtain a visa.



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   29. I had a consultation with one individual regarding his intent to write a visa letter of

      invitation on Tuesday, February 21st. Given the January 27 Executive Order and the legal

      uncertainty it continued to cause, I was unsure what advice I could provide to this

      individual during our consult. The Washington v. Trump order provided only interim

      relief. Further, reports that a new Executive Order would be issued soon, and that it could

      continue to impact the cases of people in this individual’s situation, further compounded

      the already profound legal uncertainty. Thus it was not possible for me to advise this

      individual on what he could expect further down the line regarding his relatives’ tourist

      visa.

   30. Staff members of Pars, especially those in its Legal Department, continued to field many

      questions from individuals that are concerned about the effect of the January 27

      Executive Order on their lives even after the Washington v. Trump order. The individuals

      who reach out to Pars were worried, scared, and confused. In many instances, Pars was

      not able to provide concrete answers or reassurance to them.

   31. Pars staff members continued to spend time organizing and coordinating panels regarding

      the Executive Order generally, as well as “know your rights” talks related to the

      Executive Order. Pars staff is continuously in touch with the co-speakers and co-

      sponsoring organizations involved in these events. The most recent event co-hosted by

      Pars was held on February 23, 2017 in Orange County, CA.


Pars’s Diversion of Resources and the Harm to Pars Clients and Constituents From the

March 6 Executive Order




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32. The drain on Pars’ time and resources has continued with the signing of the March 6

   Executive Order, and is certain to continue if and when the March 6 Executive Order is

   enforced.

33. As it did with the January 27 Executive Order, Pars feels ongoing pressure to ensure that

   it is sufficiently addressing Executive Order-related topics in response to the

   community’s interest and concern.

34. The March 6 Executive Order prohibits the issuance of visas to Iranian citizens in the

   near future — and possibly indefinitely. The impact of this prohibition cannot be

   overstated.

35. The vetting process for Iranians seeking visas to enter the United States has long been

   robust. Yet the Iranian community, on the whole, has been successful in obtaining visas

   prior to the Executive Order. Part of the Iranian community’s success in getting visas

   stems from the fact that Iran has a very secure documentation system. At birth, each

   individual is issued a birth certificate with a birth certificate number, name, place and

   date of birth, gender, and information relating to the individual’s parents, including their

   names and residences. In addition to a birth certificate, each permanent resident of Iran

   above the age of fifteen is issued a National Identity Card by the Iranian Ministry of the

   Interior. The secure documents that Iranians are able to provide with their visa

   applications facilitate the thorough and reliable vetting of Iranians seeking to enter the

   United States.

36. The March 6 Executive Order seems to require that, in contrast to the vetting process in

   place prior to the January 27 Executive Order, the Islamic Republic of Iran be involved in




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   the vetting of visa applicants from Iran to the United States. Yet in my opinion, involving

   the Islamic Republic in U.S. vetting is a dangerous, irrational, and illogical proposition.

37. Based on my experience as Legal Director at Pars, I believe that the March 6 Executive

   Order will negatively impact visa holders residing in the United States who were

   planning to renew their visas; it will negatively impact Iranian Americans of all legal

   statuses who wish to host visitors, including family and friends, from Iran; it will

   negatively impact Iranian citizens, including students and professionals, who wish to

   come to the United States for the very first time; and it will expose many Iranian

   Americans, regardless of legal status, to discrimination based on the March 6 Executive

   Order’s reckless and unjustified equation of Iranian descent with terrorist activity.

38. The March 6 Executive Order also halts the U.S. refugee program. Iranian individuals

   who have completed an extensive vetting process with UNHCR, as well as some who

   have also begun or completed the process of being accepted to the United States Refugee

   Assistance Program, have now been told that they will be unable to come to the United

   States. Many of these individuals are currently waiting resettlement to the United States

   in places in which they are in physical danger and live in profound economic insecurity.

   Many of them have fled from Iran after being persecuted for their religious or political

   beliefs or their sexual orientation and have pinned all their hopes of a safe, happy

   existence on the United States. Further, even if the refugee program is resumed, the limit

   of 50,000 refugees in fiscal year 2017 will severely restrict any chances that such

   individuals may have of coming to the United States.

39. In my opinion, the March 6 Executive Order’s restrictions on the refugee program is an

   abandonment of this country’s commitment to sheltering those who have fled from



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   repressive regimes. It undermines not only Pars’ mission of assisting such individuals but

   also the laudable vision upon which the United States has long prided itself.

40. The March 6 Executive Order has already had an immediate impact on the clients of Pars.

   For example, one individual who came to the United States seven years ago as a refugee,

   and two years ago obtained U.S. citizenship, sought my consultation recently. She had

   filed a family petition on behalf of her mother, who needs family support due to severe

   medical issues, two years ago. After two years of waiting, this individual’s mother was

   finally granted an interview in Dubai scheduled for the end of January. However, the

   interview was canceled due to the January 27 Executive Order. After the Washington v.

   Trump ruling, the interview was rescheduled for the first week in April. Now, this

   individual is fearful that the interview will yet again be cancelled. She was asking me for

   legal advice, and I truly did not have the answers. Under the terms of the March 6

   Executive Order, visas that have been issued are preserved, but will a scheduled

   interview stand? Will the individual’s mother have to pay for and cancel yet another

   airline ticket? Should the mother’s family members, who are scheduled to travel to the

   interview in Dubai with her, take time off work? This individual told me that she will be

   forced to leave her position as a nanny in the United States if her mother’s interview does

   not proceed in the near future, because her mother’s health does not allow her to keep

   living alone in Iran. Although she is a citizen of the United States, this individual will be

   forced to leave her home country as a result of the January 27 and March 6 Executive

   Orders.

41. When counseling the individual above, I did not know how to apologize for our country’s

   failure to treat her — a United States citizen — equally with other citizens. The only



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   thing I could do was to tell her to remain hopeful that her mother’s interview will not be

   cancelled, or that if it is it will be rescheduled soon, which is cold comfort indeed.

42. Pars staff have been forced to continue to address community members’ concerns since

   the March 6 Executive Order. Pars has already planned two panel events to give

   information about the March 6 Executive Order and provide opportunities for the

   community’s questions to be answered. One event will be held on March 15 at our

   Orange County center, while the other will be held on March 14 in San Jose. Both events

   will be staffed by our own in-house immigration attorneys.

43. In summary: even in its short lifespan, the January 27 Executive Order caused profound

   psychological and emotional harms to the Iranian-American community. The March 6

   Order, while longer-winded, does very little to counteract those harms. The fear and

   anxiety created by the January 27 Executive Order lives on due to the March 6 Executive

   Order, and both Orders have or will separate and unmoor families. The January 27 and

   March 6 Executive Orders have also put into jeopardy the economic security of the

   Iranian American community and the March 6 Executive Order is sure to cause a brain

   drain from the United States as many Iranian immigrants, refugees and Iranian

   Americans are forced to, or choose to, leave the country in search of more stable

   employment, reunification with their families, or both. The March 6 Executive Order also

   creates barriers for students from Iran to attend U.S. colleges and universities — barriers

   which hurt both countries. By extension, the March 6 Executive Order will also weaken

   the economic contribution of the Iranian-American community to the United States. The

   January 27 Executive Order, and the March 6 Executive Order if and when it is enforced,




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have and will cripple core aspects of Pars’ mission and wreak havoc on the organization’s

ability to continue with its usual programming, social, educational, and legal services.




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                         EXHIBIT 4
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                        THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )            No. 15-cv- 255 (TSC)
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )




 DECLARATION OF THE PUBLIC AFFAIRS ALLIANCE OF IRANIAN AMERICANS
   IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, Leila Golestaneh Austin, hereby declare and

state as follows:

       1.      I am over the age of eighteen years. I have personal knowledge of the facts set

forth here or believe them to be true based on my experience or upon information provided to me

by others, and I am competent to testify to them.


I.     Background Information for the Public Affairs Alliance of Iranian Americans
       (PAAIA)
       2.      I am the Executive Director of the Public Affairs Alliance of Iranian Americans

(PAAIA). PAAIA, Inc. is a 501(c)(4) nonprofit, bipartisan, non-sectarian, national membership

organization with an affiliated 501(c)(3), IA-100, Inc. I have been the Executive Director at

PAAIA since February 1, 2015.


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       3.      Because of my position as Executive Director, I know about the history and

background of PAAIA as well as the organization’s mission and purposes. I am also involved in

the day to day operations of PAAIA, and thus am very familiar with our current expenses and

resources. I oversee the programs and activities sponsored by PAAIA and am either involved

directly or indirectly with the publications PAAIA releases or otherwise contributes to.

       4.      The 501(c)(3) of PAAIA has an exclusive membership comprised entirely of

Iranian Americans. All of the approximately 50 members of the PAAIA 501(c)(3) are either U.S.

citizens or legal permanent residents and almost all reside in the United States. Membership in

the 501(c)(3) is by invitation and invitees are individuals who have demonstrated leadership in

their respective fields, are active in the Iranian-American community, and are willing to commit

their resources in the promotion of PAAIA’s goals and programs.

       5.      The 501(c)(4) of PAAIA also has members who register online with the

organization. Members can elect online to register for either the free membership, the $100

Supporters members, the $1,000 Ambassador’s Circle, the $2,500 Congressional Club

membership, or the $5,000 National Leadership Circle membership. In addition, PAAIA has

18,645 individuals on our mailing list who receive our communications, 8,452 of whom have

signed up under the free membership program and have the option to donate to certain programs.

       6.      As explained in more detail below, PAAIA engages in many programs and

activities which are developed and implemented by a staff located in Washington, D.C.

Currently there are three full time PAAIA staff members, including myself, and two part-time

university students working as staff members.




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II.    Mission & Purpose of PAAIA


       7.      PAAIA was founded to represent and advance the interests of the Iranian-

American community, which is estimated to be a population approaching one million people, a

large portion of which are citizens or permanent legal residents. Iranian Americans are patriotic

and have served in all branches of the military and many have dedicated their lives to public

service. Working in tandem with the community at large and with other organizations, PAAIA

has effectively promoted the role of Iranian Americans in the social, cultural, and economic

tapestry of the United States. Serving the interests of Iranian Americans and representing the

community before U.S. policymakers and the American public at large, it works to foster greater

understanding between the people of Iran and the United States, expand opportunities for the

active participation of Iranian Americans in the democratic process at all levels of government

and in the public debate, and provide opportunities for advancement for our next generation.

       8.      Since its inception in 2008, PAAIA continues to carry out its mission by engaging

in programs and activities throughout the United States to benefit Iranian Americans and

promote a positive image of Iranian Americans. For example, PAAIA has implemented

programs such as Passing the Torch of Success, the Nowruz Project, Nowruz on Capitol Hill,

Cyrus Cylinder Tour at the Asian Art Museum in San Francisco, and A Thousand Years of the

Persian Book at the Library of Congress in Washington, D.C., all of which portray a more

accurate image of the Iranian-American community to the general public, policymakers, and

lawmakers.

       9.      PAAIA also fights discriminatory and harassing treatment towards Iranian

Americans and stands up for the rights of Iranian Americans by working on issues such as

addressing inflammatory remarks about Iranians made by a retired Stanford faculty member;


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ensuring that the professional networking website, LinkedIn placed Iran back on their education

drop-down menu from where it had been removed; and working with the American Values

Network (AVN) to have them drop an anti-oil ad campaign that targeted Iran in favor of a new

concept that promotes clean energy but shields innocent Iranians and Iranian Americans from a

bad image. In more recent years, PAAIA has written to Chancellor Kumble R. Subbaswamy, of

the University of Massachusetts, Amherst, expressing disapproval of the University’s new policy

which banned Iranians from enrolling in graduate engineering programs; sponsoring a letter

signed by 37 prominent Iranian Americans urging the 2016 presidential candidates to refrain

from broad generalizations about the Iranian people when discussing the prospective nuclear

agreement taking shape between the P5+1 and Iran. In 2015, PAAIA launched a National

Communications Campaign to inform the general public as well as U.S. lawmakers about the

Iranian-American community’s broad support for the Iran Nuclear agreement.

       10.     PAAIA also continues to educate the general public, lawmakers, and

policymakers about the Iranian-American community. For example, in May 2014, PAAIA

released a report, “Iranian Americans: Immigration and Assimilation,” available through

PAAIA’s website at http://www.paaia.org/CMS/Data/Sites/1/pdfs/iranian-americans---

immigration-and-assimilation.pdf (copy supplied as Attachment 1). This report is the first in a

series of three reports providing more in-depth information about Iranian Americans, which

discussed among other things the three major waves of Iranian immigration to the United States,

self-identification of the Iranian American community, and typical benchmarks of assimilation.

As another example, in June 2015, PAAIA released its 2015 Survey of Iranian Americans, which

was presented in a congressional briefing and released to the public at large in connection with a

panel discussion hosted by PAAIA on the Iran nuclear negotiations. PAAIA’s annual Survey of



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Iranian Americans is available at http://www.paaia.org/CMS/survey-of-iranian-americans.aspx.

These are just a few examples of the numerous publications about and on issues concerning

Iranian Americans that are released by PAAIA every year.

       11.     Because one of PAAIA’s key initiatives is leadership-building, PAAIA operates a

number of youth programs to encourage future Iranian American leaders. PAAIA’s youth

programs include sponsoring public service fellowships for Iranian Americans throughout the

United States and helping young Iranian Americans obtain internships with legislative offices in

Washington D.C.

       12.     PAAIA has been featured in national and international print and online news

media. The organization writes news articles and monitors the media reports on Iranian

Americans. PAAIA is also viewed by Iranian Americans as a source of information about issues

impacting the community.


III.   PAAIA’s Promotion of the Iranian American Community


       13.     According to PAAIA’s 2014 report on Iranian Americans: Immigration and

Assimilation, while the first known Iranian American, Mirza Mohammed Ali (better known as

Hajj Sayyah, “The Traveler”) arrived in the United States in approximately 1867, the first wave

of Iranian immigration to the United States did not occur until the 1950s. PAAIA’s report

explained that most Iranian Americans arrived in the United States during the second wave of

migration from 1979 to 2001 and were fleeing oppression in Iran. The report went on to describe

how these second-wave Iranians, as opposed to earlier immigrants, were more likely to identify

themselves as exiles or political refugees.

       14.     PAAIA has also published reports documenting how upon arriving in the United

States Iranians quickly assimilated into and thrived in American culture. PAAIA provides some

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of this information on the Demographics & Statistics page of its website,

http://www.paaia.org/CMS/demographics--statistics.aspx. As PAAIA details online, Iranian

Americans have educational attainments that greatly surpass the national average. According to

Ronald H. Bayer’s Multicultural America: An Encyclopedia of the Newest Americans, about 50

percent of all working Iranian Americans are in professional and managerial occupations, greater

than any other group in the United States at the time the survey was conducted.

         15.   While assimilating into American society, Iranian Americans maintain close ties

to their family in Iran. According to PAAIA’s 2016 National Public Opinion Survey of Iranian

Americans, available online at http://www.paaia.org/CMS/Data/Sites/1/PDFs/PAAIA-2016-

Reportrev-newcover.pdf, 84% of respondents have family in Iran and approximately one-third

are in contact with their family or friends in Iran at least several times per week. PAAIA’s 2016

survey further reported that thirty percent of respondents traveled to Iran once every two or three

years.

         16.   Both as individuals and as a community Iranian Americans have actively

participated in and enriched all levels of American culture and society, and have contributed to

economic growth in America. Iranian Americans have made important contributions to the

public sector, technology, business and the arts. PAAIA has profiled or made public information

about many prominent Iranian Americans, including Cyrus Habib, Lieutenant Governor of

Washington; Hadi Partovi, CEO of education non-profit Code.org; and Firouz Naderi, the former

associate director of NASA’s Jet Propulsion Laboratory. Iranian Americans have also founded

some of the most innovative companies in the last twenty years and have been on the forefront of

innovations in the technology sector. To provide just a few examples of prominent Iranian

Americans who I am aware of, an Iranian American, Pierre Omidyar, founded eBay; an Iranian



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American, Omid Kordestani, serves as the Executive Chairman of Twitter; Farzad Nazem, was

the chief technology officer at Yahoo; an Iranian American, Salar Kamangar, is a senior

Executive at Google and the former CEO of Google’s YouTube platform; Iranian American

Omid Kordestani is Twitter’s Executive Chairman.

       17.     Iranian Americans have also made significant contributions to the arts, such as

Shoreh Aghdashloo, an Iranian American actress whose work has been recognized by the

Emmys and the Oscars, and Nasser Ovissi, an internationally acclaimed artist.

       18.     I am also aware of Iranian Americans who have made important contributions in

public service, serving in both national and state offices, such as Cyrus Amir-Mokri, who served

as the Assistant Secretary for Financial Institutions at the United States Treasury; Faryar Shirzad,

who served on the staff of the National Security Council; Goli Ameri, say Assistant Secretary of

State of the Bureau of Educational and Cultural Affairs under the George W. Bush

administration the current President and CEO of the Center for Global Engagement; and Azita

Raji, who was nominated by President Obama to serve as United States Ambassador to the

Sweden.

       19.     And, while the Iranian-American community has been smeared as terrorists by the

Executive Order, the initial first responder on the scene at the San Bernardino terrorist attack was

an Iranian-American medic. One of the victims of that atrocious act was also an Iranian

American.


IV.   PAAIA’s interest in and concern about enforcement of the January 27 and March 6
Executive Orders



       20.     PAAIA is vitally interested in and concerned about ongoing harm and impact

resulting from the original January 27, 2017, Executive Order, “Protecting the Nation from

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Foreign Terrorist Entry Into the United States” (“January 27 Executive Order”) and the

subsequent March 6, 2017, Executive Order of the same name (“March 6 Executive Order”),

expected to go into effect on March 16.

       21.     The Executive Orders have disrupted PAAIA’s mission of encouraging

constructive relations and enhancing mutual understanding between the peoples of the United

States and Iran. We have received inquiries from our membership as to whether the enforcement

of this exclusionary policy will also strain relations between the United States and Iran, thereby

debilitating PAAIA’s mission of promoting greater understanding between the Iranian and

American people. Members are concerned that the Executive Orders create a negative stigma on

Iranian Americans, directly conflicting with the missions and purposes of PAAIA, which stands

for the positive impact of Iranian Americans.

       22.     PAAIA’s members have been adversely affected by the signing of the January 27

Executive Order. For example, a PAAIA member—an Iranian-American, internationally

renowned doctor, who immigrated to the United States after the Iranian government imprisoned

him for several years in what was considered to be an unjust and politically motivated strike—

was tremendously impacted when his brother, despite having a valid visa and being a visiting

scholar at an American university, was not allowed to re-enter the United States after visiting

their elderly father in Iran. This member reached out to me, and through PAAIA’s connections I

helped him obtain assistance from attorneys working with Iranian Americans whose family

members have been stranded in Iran. Although his brother has now successfully returned to the

United States, PAAIA members with family in Iran are concerned about the likelihood that their

family will no longer be able to come to the United States, in some case their parents.




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       23.      The Executive Orders have caused PAAIA to divert substantial resources to

combating their discriminatory effects, and this will continue once the March 6 Executive Order

goes into effect. Since the January 27 Executive Order was signed, PAAIA has had to divert

most of its resources to responding to media inquiries and requests about the impact of the policy

on Iranian Americans and their families, providing guidance and educating the public on the

impact of the Executive Orders, and developing a strategy for how to respond to the Executive

Orders. PAAIA has held emergency phone calls on this subject, including an emergency

telephone conference for concerned Iranian Americans with immigration and civil rights lawyers

to provide its members and other Iranian Americans information about the policy and how it

might impact their lives. PAAIA has also prepared several press releases and informational

memorandum for its members concerned about the Executive Orders. The day to day activities

of PAAIA have shifted away from its regular programs and activities towards combating the

negative and wrongful effects of the Executive Order on PAAIA’s members and other Iranian

Americans.

       24.      Since January 27, PAAIA has had to divert its resources away from its normal

programming and activities. For example, PAAIA was scheduled to launch a new fellowship

program for Iranian American youth, but was unable to do so after the Executive Orders forced

PAAIA to divert its resources. Similarly, the Executive Orders forced PAAIA to postpone an

event that was going to be hosted on behalf of an Iranian American running for local office.

PAAIA has also been unable to devote staff time to activities such as planning for the

organization’s upcoming annual event on Capitol Hill, fundraising for the organization,

informational and networking events for members, and electioneering activities for the

organization.



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       25.     As another example of how PAAIA has had to divert resources to address the

Executive Order, on January 29, 2017, I wrote an op-ed piece for the Huffington Post detailing

how the Executive Order punished Iranian Americans who had proven every day that they were

patriotic and fully supportive of national security concerns. As I explained in this article, the

United States should not “turn a blind eye to the fact that the people of Iran have consistently

demonstrated their affinity for the core values of our American democracy including liberty,

freedom, and the rule of law. . . . [B]y using a broad brush to label all Muslims as enemies of

America, the order ignores the fact that there has never been a single act of terror committed by

anyone of Iranian descent in the United States.” This article was published online at

http://www.huffingtonpost.com/entry/punishing-the-innocent-in-the-name-of-national-

security_us_588d7674e4b017637794e356?u4ajuw4rcyvr96bt9.

       26.     The cumulative impact of the January 27 Executive Order, the shifting legal

environment and now the new March 6 Executive Order continues to frustrate the mission of

PAAIA, requiring constant vigilance and adjustment. Over the last few weeks, PAAIA has been

forced to re-strategize its efforts for 2017 and 2018 to deal with the Travel Ban. PAAIA only has

three full-time staff members serving PAAIA members and the Iranian-American community

throughout the United States. All three of us have been devoting time and resources to activities

and issues related to the Executive Order.

       27.     Advocating on behalf of the Iranian-American community against the Executive

Orders and coordinating advocacy efforts throughout the United States has taken a substantial

amount of PAAIA’s resources. Staff members from PAAIA have been in constant

communication with Congressional staff over the past several weeks regarding a legislative




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response. PAAIA is supporting legislation that would rescind the travel ban and is encouraging

members of Congress to co-sponsor the legislation.

       28.     PAAIA provides resources for how to contact senators and representatives and

has been encouraging Iranian Americans to speak out against the Executive Order. PAAIA has

been preparing members for meetings with their members of Congress, including a recent

meeting with a representative in Houston, Texas. On Wednesday, February 15th, PAAIA

reported on an open letter to President Trump signed by 80 prominent industry professionals

urging him to reconsider the Executive Order.

       29.     PAAIA also continues to devote resources to providing information about the

Executive Order to its members and the Iranian-American community. PAAIA, for example,

issued two alerts to take action for community members on Monday, February 13th, and

Thursday, February 16th. PAAIA also organized the release of a statement condemning the rise

of hate crimes directed at immigrants as a result of the rise of anti-immigrant rhetoric, including

rhetoric leading up to the “Muslim Ban.”

       30.     The March 6 Executive Order will continue to force PAAIA to divert time and

resources. In addition to having to closely monitor the impact of shifting rules and procedures

on its members and other Iranian Americans, including U.S. citizens and their family members,

PAAIA will have to continuously research and analyze legal actions, monitor announcements

and activity from the Department of Homeland Security, the State Department and other

agencies, respond to and act upon concerns from Iranian Americans about the Executive Order,

and rally the community to direct their concerns to their Congressional representatives.




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       31.     Many individuals continue to express concern about ongoing effects of the

January 27 Executive Order, despite the rulings of the District Court in Washington v. Trump,

Case No. 2:17-cv-141-JLR (W.D. Wash.) and other courts enjoining it.

       32.     PAAIA continues to receive requests for assistance from individuals concerned

about the Executive Orders and uncertain about their impact on their personal lives. Because

PAAIA does not provide legal services, I refer most of these individuals to Iranian-American

organizations that provide legal assistance.

       33.     PAAIA has been in contact with members of the medical community regarding

the potential consequences of the March 6 Executive Order on new physician training through

residency programs at U.S. hospitals. Every year, graduating medical students apply to the

National Resident Matching Program (known as “the match”), where they can obtain essential

required additional medical training as residents. Approximately 1/5 of match participants are

non U.S. citizens, including graduates of foreign medical programs seeking to train in the United

States. The match program assigns individuals to specific slots through a highly competitive

interview and application process, taking into account both applicant and program preference.

       34.     The Executive Orders have disrupted this process by creating disincentives for

U.S. medical programs to rank individuals from the seven – and now six -- affected countries

highly. A residency program may not want to risk a slot on an individual who may not be able to

obtain a visa to work in the United States. Further, the final match decisions will be issued on

March 18. Iranian nationals who “match” into U.S. programs and who will need to obtain a visa

may be unable to accept the positions. Residency programs typically start on July 1. Thus even if

some kind of waiver might apply, the increased uncertainty and potential delay might foreclose

these opportunities altogether. This means that U.S. hospitals may lose out on their top ranked



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choices or be forced to incorporate considerations other than merit in finding the best match.

And any limitation on merit and quality in competing for positions in residency programs has

even larger implications for U.S. medical care. Iranian doctors and medical students have spoken

out forcefully about the problems the Executive Orders are creating in the match program this

year and in other aspects of medical education and the profession.1

        35.     When the March 6 Executive Order takes effect it will maintain a ban on Iranian

nationals and Iranian Americans, who may be unable to obtain visas and refugee admissions

under the Immigration and Nationality Act for months – and potentially even longer. The

discrimination and animus based on religion and national origin under this policy will continue

to demean and stigmatize the Iranian-American community. This new Executive Order still fails

to explain why people of Iranian descent pose a greater risk to Americans than individuals from

other nations not targeted by this ban. The continuation of this policy of exclusion will continue

to adversely impact U.S. businesses, U.S. universities and U.S. based families. The Iranian-

American community is by far the largest community harmed by the Executive Orders.




1
 Ahmad Masri, M.D. and Mourad H. Senussi, M.D., Trump’s Executive Order on Immigration: Detrimental Effects on
Medical Training and Healthcare, New England Journal of Medicine (Feb. 1, 2017),
http://www.nejm.org/doi/pdf/10.1056/NEJMp1701251 (Attachment 2); Andrew Joseph and Eric Boodman,
Trump’s Immigration Order “Causing Havoc” for Medical Students Awaiting‘Match Day, STAT (Feb. 2, 2017)
https://www.statnews.com/2017/02/02/match-day-trump-medical-students/.

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Attachment 2
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The                                             NEW ENGLA ND JOURNAL                                                                of   MEDICINE




                                                                                                                  Perspective
Trump’s Executive Order on Immigration — Detrimental
Effects on Medical Training and Health Care
Ahmad Masri, M.D., and Mourad H. Senussi, M.D.​​




                                                 O
                                                          n January 27, 2017, U.S. President Donald                                 Muslim majority, of which 40%
Trump’s Executive Order on Immigration




                                                          Trump signed an executive order banning                                   were matched into a U.S.-based
                                                                                                                                    residency program.4
                                                          nationals of seven countries — Iran, Iraq,                                    Furthermore, IMGs who train
                                                  Libya, Somalia, Sudan, Syria, and Yemen — from                                    on a J-1 visa (a nonimmigrant visa
                                                                                                                                    sponsored through the ECFMG Ex-
                                                  entering the United States for at        and the National Resident Match-         change Visitor Sponsorship Pro-
                                                  least 90 days, with the possibility      ing Program (NRMP) published a           gram [EVSP]) are required to
                                                  of a wider “Muslim ban” in the           report in 2014 detailing the out-        return to their home country for
                                                  works.1 Setting the broader ethical      comes for IMGs of the 2013 Main          2 years or obtain a “J-1 waiver”
                                                  and political ramifications aside,       Residency Match.4 It indicated the       clinical job in order to stay in the
                                                  this order will have a detrimental       number of applicants according to        United States.5 J-1 waiver posi-
                                                  effect on graduate medical edu-          country of citizenship at birth and      tions are usually obtained through
                                                  cation (GME) and the U.S. health         country of medical school attend-        the Conrad 30 Waiver Program,
                                                  care system as a whole.                  ed (detailed for countries with at       which is intended to recruit phy-
                                                     In 2015, the Educational Com-         least 50 applicants). In 2013, there     sicians to serve in underserved
                                                  mission for Foreign Medical Grad-        were 753 applicants whose coun-          rural and inner-city areas of the
                                                  uates (ECFMG) reported that 24%          try of citizenship at birth was          United States.5 According to an
                                                  of practicing physicians in the          Iran, Iraq, Libya, Sudan, or Syria;      ECFMG ESVP report, in 2014–2015
                                                  United States are international          299 of these (40%) were matched          there were 9206 sponsored J-1 phy-
                                                  medical graduates (IMGs).2 In the        into a U.S.-based residency pro-         sicians from 130 countries, and
                                                  2016 Main Residency Match, there         gram.4 If the ordered ban expands        6 of the top 10 countries of origin
                                                  were 7460 IMGs who were not              to include other countries with a        — accounting for a total of 1879
                                                  U.S. citizens (21% of all appli-         Muslim majority population, the          J-1 physicians — have Muslim ma-
                                                  cants).3 Although there are no cur-      number of potentially affected ap-       jority populations (Syria, currently
                                                  rent published statistics on the         plicants will increase significantly.    1 of the top 10 countries of origin
                                                  countries of origin of physicians        In 2013, there were 2101 applicants      and on the executive-order ban list,
                                                  in the United States, the ECFMG          from 11 different countries with         had 165 J-1 physicians in 2014–


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           Case 1:17-cv-00255-TSC Document 35-2 FiledTrump’s
                                                       03/15/17     Page 107 of 219
                                                             Executive Order on Immigration
PERS PE C T IV E


          2015).4 Physicians with J-1 waivers      rimental to GME, a well-designed         support from patients, colleagues,
          are filling clinical jobs in areas of    process that funnels hard-working        program directors, faculty, and
          need. An executive order that has        IMGs into training positions that        hospital staff — all of whom
          not taken into account the wide-         would otherwise remain unfilled.         honor the diversity that helps to
          spread ramifications may lead to         Since President Trump signed the         make this country great. As one
          further shortages of physicians in       order, there has been pandemoni-         of our patients put it, “I voted for
          areas that are already in dire need.     um among residents, fellows, and         Trump, but there is no way I’m
             For international medical stu-        GME offices throughout the coun-         going to let him take you away,
          dents and graduates, pursuing            try. It has created much uncer-          doctor!”
          medical training in the United           tainty and may well lead selection          The views expressed in this article are
          States requires careful planning         committees to reconsider their           those of the authors and do not necessarily
                                                                                            reflect the positions of the University of
          and considerable investment. Aside       choices of applicants on the basis       Pittsburgh Medical Center.
          from meeting the requirements            of country of origin. Currently,            Disclosure forms provided by the au-
          of one’s own medical school and          training programs are seeking ad-        thors are available at NEJM.org.

          home country, one has to sit for         vice from their GME departments          From the Heart and Vascular Institute, Uni-
          the U.S. Medical Licensing Ex-           and lawyers about ranking physi-         versity of Pittsburgh Medical Center, Pitts-
                                                                                            burgh.
          amination Step 1, Step 2 Clinical        cians from the seven banned
          Knowledge, Step 2 Clinical Skills,       countries and from all countries         This article was published on February 1,
          and possibly Step 3. After passing       with a Muslim majority, as well          2017, at NEJM.org.
          these exams, one applies through         as all applicants who require visas.     1. Full executive order text:​Trump’s action
          the Main Residency Match, which          Though hospitals and training            limiting refugees into the U.S. New York
          requires applying for a visitor visa     program directors may be well in-        Times. January 27, 2017 (https:/​           /​
                                                                                                                                         w ww​
                                                                                            .nytimes​.com/​2017/​01/​27/​us/​politics/​
          (unless one is exempt), applying         tentioned and want to ensure that        refugee-muslim-executive-order-trump​.html).
          to a number of programs through          their matched physicians arrive by       2. Educational Commission for Foreign
          the Electronic Residency Applica-        July 1 to begin their training in a      Medical Graduates. 2015 Annual report
                                                                                            (http://www​.ecfmg​.org/​resources/​ECFMG
          tion Service, and traveling to the       timely manner, the ban is leading        -2015-annual-report​.pdf).
          United States for in-person inter-       to inadvertent religious and racial      3. National Resident Matching Program.
          views. After this emotionally and        discrimination.                          Charting outcomes in the Match: internation-
                                                                                            al medical graduates: characteristics of inter-
          financially draining process, one            The pathway to becoming a            national medical graduates who matched to
          submits a Rank Order List and            competent, well-trained physician        their preferred specialty in the 2016 Main
          awaits the Match results.                is full of challenges, ranging from      Residency Match. 2nd ed. September 2016
                                                                                            (http://www​.nrmp​.org/​w p-content/​uploads/​
             This process usually requires at      long hours and years, to life and        2016/​09/​Charting-Outcomes-IMGs-2016​.pdf).
          least 2 years of preparation, and        job stresses, to financial debt. Phy-    4. National Resident Matching Program
          only the cream of the crop of med-       sicians do not need further obsta-       and the Educational Commission for For-
                                                                                            eign Medical Graduates. Charting outcomes
          ical students and physicians from        cles and worries imposed on them         in the Match: international medical gradu-
          foreign medical schools match            by orders that are not well thought      ates: characteristics of applicants who
          into U.S. residency programs —           out. Immigrants have made a long         matched to their preferred specialty in the
                                                                                            2013 Main Residency Match. 1st ed. January
          trainees who have shown apti-            list of contributions to the U.S.        2014       (http://www​.ecfmg​.org/​resources/​
          tude and dedication, have worked         health care system and to science        NRMP-ECFMG-Charting-Outcomes-in-the
          hard, and have made a consider-          in general — achievements that           -Match-International-Medical-Graduates
                                                                                            -2014​.pdf).
          able financial investment in order       transcend country of origin, as          5. U.S. Citizenship and Immigration Ser-
          to reach the pinnacle of graduate        well as religion, race, color, ethnic    vices. Conrad 30 Waiver Program (https:/​/​
          medical training. This grueling          background, gender, and sexual           www​.uscis​.gov/​working-united-states/​
                                                                                            students-and-exchange-visitors/​conrad-30
          process represents “extreme vet-         orientation.                             -waiver-program).
          ting” at its best.                           In the face of the executive or-     DOI: 10.1056/NEJMp1701251
             The executive order is thus det-      der, we have seen an outpouring of       Copyright © 2017 Massachusetts Medical Society.
                                                                                            Trump’s Executive Order on Immigration




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                         EXHIBIT 5
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                          THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )              Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )


                    DECLARATION OF ALI ASAEI IN SUPPORT OF
                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

         Pursuant to Title 28 U.S.C. Section 1746, I, Ali Asaei, hereby declare and state as

follows:

         1.     I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.

   I.         Background:

         2.     I am an Iranian citizen. I first came to the United States on September 6, 2013 on

an F-1 student visa. I obtained my master’s degree in electrical engineering at SUNY – New

Paltz in December 2015.




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       3.       I then applied for and was granted F-1 OPT status, which allows me to perform

work directly related to my major area of study for twelve months. My OPT status expires in

June 2018.

       4.       Since August 2016, I have been working as a research assistant at the Nathan

Kline Research Institute, which is part of the Research Foundation for Mental Hygiene (RFMH).

       5.       I live in Fort Lee, New Jersey.

       6.       As a research assistant, I complete MRI image processing of brains to understand

brain structure as well as the structure of diseases like Alzheimer’s and Parkinson’s disease. Our

goal is to learn enough about the brain to predict the occurrence of these and other diseases. The

funding for this project comes from the National Institute of Health (NIH).

       7.       In addition to my work as a research assistant, I help write image processing

software that has clinical and/or research applications.

       8.       Outside of my work at RFMH, I have also volunteered with a local refugee

organization in Jersey City, New Jersey.

       9.       I was also recently featured in a New York Times article entitled, “Twitter Adds

New Ways to Curb Abuse and Hate Speech,”

https://www.nytimes.com/2016/11/16/technology/twitter-adds-new-ways-to-curb-abuse-and-hate-

speech.html?_r=0

       10.      I last saw my mother and sister in 2014, when they visited me in the United States

on B-1 and B-2 tourist visas. I have not seen my brother or father since 2013.

       11.      My parents and sister have long been planning to visit the United States. I

personally petitioned for visas for my family. My parents paid $160.00 each for their visa

applications.



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          12.      Within a few years of applying, they were able to get a nonimmigrant visa

appointment at the U.S. Embassy in Dubai. The appointment was scheduled for February 15,

2017.

   II.          Harm Caused by the January 27, 2017 Executive Order:

          13.      As a result of the January 27, 2017 Executive Order (EO), the U.S. Embassy in

Dubai sent my parents an email on January 31, 2017 notifying them that their visa appointment

has been cancelled.

          14.      My parents’ and sister’s visa appointment was eventually rescheduled for

February 16, 2017. They traveled to the U.S. Embassy in Dubai for the appointment.

          15.      My parents’ and sister’s visas were denied during their interview. When they

asked the consular official for the reason for their denial, they were told by the consular official,

“we cannot give you a reason for the denial.”

   III.         Harm From March 6, 2017 Executive Order:

          16.      President Donald Trump signed an Executive Order on March 6, 2017 (March 6

Executive Order) prohibiting the issuance of visas to Iranian citizens.

          17.      If and when the March 6 Executive Order is enforced, it is unlikely that I will be

able to extend or apply for new work authorization when my current OPT status expires in June

2018. As a result, I will be forced to quit my job and leave the United States permanently.

          18.      In addition, if and when the March 6 Executive Order is enforced, the chances

that my parents and sister could re-apply for a new visa to visit me in the United States will be

severely diminished. The prospect of remaining separated from my family has caused me great

mental and emotional distress.




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       19.     I am greatly saddened by the fact that I live in a country in which Iranians —

good people like my parents and sister — are unable to visit.

       20.     As a result of the prospect that I will be unable to renew my work authorization in

the future, and due the enforced separation from my family, I have decided to leave the United

States shortly and return to Iran.




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       I, Ali Asaei, declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge.



Executed this _9_ day of March, 2017, in _Orangeburg, NY_.

                                                             _____/s/ Ali Asaei________
                                                                    Ali Asaei




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                         EXHIBIT 6
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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )           Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )


                DECLARATION OF SHIVA HISSONG IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, Shiva Hissong, hereby declare and state as

follows:

       1.      My name is Shiva Hissong. I am over the age of eighteen years, and I have

personal knowledge of the facts set forth herein or believe them to be true based on my

experience or upon information provided to me by others. If asked to do so, I could testify

truthfully about the matters contained herein.

I.     Background:

       2.      I reside in Spokane, Washington. In November 2016 I received authorization to

work in the United States but am currently a stay-at-home mother. My husband works as an

architect in Spokane, and owns an architecture firm and an advertising agency.



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        3.       I am a citizen of Iran and a Green Card holder (legal permanent resident) of the

United States.

        4.       I am a Muslim and adhere to the religion of Islam.

        5.       I was a student in Italy from August 2012 until March 2016. I was there on a

student visa and earned credits toward my Bachelor’s Degree in fashion. While studying in Italy,

I met my husband in Rome.

        6.       After my future husband and I got engaged, I applied for and received a K-1 visa.

        7.       I entered the United States on this K-1 visa on March 3, 2016.

        8.       My husband and I were married on April 17, 2016 and hosted a wedding

 ceremony on August 28, 2016 in Spokane, Washington.

        9.       My parents reside in Tehran, Iran. They are Iranian citizens. My father has been

ill with Parkinson’s disease for the past ten years, and his condition has significantly deteriorated

in the last three to four years.

        10.      My parents were unable to obtain visas to attend my wedding due to a lack of visa

appointments at the United States Embassies in the United Arab Emirates, Armenia, or Turkey.

        11.      Subsequently, my parents decided that they would try to visit the United States for

the birth of their grandson.

        12.      In October 2016, my parents were able to get a visa appointment at the United

States Embassy in Yerevan, Armenia. The interviewing officer informed my parents that they

had to undergo an administrative interview that would take approximately three to six months.

        13.      My son was born on November 28, 2016. My parents were not present for his

birth pending their visa applications and administrative process. They have not yet met my son.




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          14.   In light of my father’s illness and the extended application process for my parents

to obtain a visa to visit the United States, my parents and I made plans to meet in Dubai, United

Arab Emirates in March 2017 so that my parents could meet their grandson.


II.       Harm Suffered Post January 27, 2017 Executive Order:


          15.   Prior to my parents completing an administrative interview for their visa

applications, President Donald Trump signed an Executive Order on January 27, 2017 (January

27 Executive Order) immediately prohibiting the issuance of visas to Iranian citizen and

prohibiting the entry of Iranian citizens into the United States.

          16.   Following the signing of the January 27 Executive Order, the United States

Embassy in Yerevan, Armenia did not, to the best of my knowledge, issued any electronic mail

or guidelines to my parents with respect to their applications.

          17.   As a result of the confusion and uncertainty surrounding my parents’ visa

applications under the terms of the January 27 Executive Order, I did not know if my parents

would be able to visit the United States and meet my son while my father is healthy enough to

travel.

          18.   The morning after the January 27 Executive Order was signed, the immigration

attorney that I had retained advised me that I should not leave the United States due to the

January 27 Executive Order. I became very concerned about my ability to exit and reenter the

United States, and decided to cancel my family’s visit to the United Arab Emirates in March

2017.

          19.   In addition, prior to the signing of the January 27 Executive Order, my husband

and I had purchased plane tickets to visit Amsterdam, the Netherlands. Following the signing of



                                                  3
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the January 27 Executive Order, I became concerned about my ability to exit and reenter the

United States and have subsequently decided not to visit the Netherlands as originally planned.

        20.    I have received no guidance, information, clarity, instruction, or correspondence

from the United States government or my attorney concerning the issuance of visas and/or

whether my parents’ visas will be issued in course or whether it will not be issued under the

terms of the January 27 Executive Order.

        21.    I very frequently check the website of the U.S. Embassy in Armenia for any

updates on my parents’ visa applications. Since the January 27 Executive Order was signed, the

website has not indicated whether my parents’ visa was revoked (and, if so, whether it was

reinstated); whether the processing of their visa application has been suspended; or whether their

visa is being processed.

        22.    I have checked the website of the U.S. Embassy in Armenia frequently for any

updates on my parents’ case or the issuance of visas generally. The last time I checked, the

Embassy website stated that visa processing is currently delayed.


III.    Harm From March 6, 2017 Executive Order:


        23.    President Donald Trump signed an Executive Order on March 6, 2017 (March 6

Executive Order) prohibiting the issuance of visas to Iranian citizens.

        24.    The terms of the March 6 Executive Order prohibit the approval and issuance of

my parents’ tourist visa. I am concerned that if and when the March 6 Executive Order goes into

effect, my parents’ tourist visa will be denied and they will be unable to travel to the United

States while my fathers’ health still allows him to do so. As a result my parents will be unable to

visit me and my family and meet their grandson for the first time.



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                         EXHIBIT 7
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                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISCTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )             Civil Action No. 17-cv-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )


                 DECLARATION OF JANE DOE #1 IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, Jane Doe #1, hereby declare and state as

follows:

       1.      My name is Jane Doe #1. I am over the age of eighteen years, and I have personal

knowledge of the facts set forth herein or believe them to be true based on my experience or

upon information provided to me by others. If asked to do so, I could testify truthfully about the

matters contained herein.

I.     Background:

       2.      I am 28-years-old and currently reside in San Diego, California. I am employed

with the City of San Diego. I have my Master’s Degree in city planning from San Diego State

University.

       3.      I am a dual citizen of the United States and Iran.

       4.      I am a Muslim and adhere to the religion of Islam.


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          5.    My family sold all of their belongings and assets in Iran and immigrated to the

United States in 2001. I was 11-years-old at the time and moved with my mother, father, and

sister.

          6.    It took approximately twelve (12) years for my family to be approved to become

Green Card holders (legal permanent residents). My family has continued to live in the United

States since 2001 and myself, my mother, my father, and my sister are all United States citizens.

          7.    Both of my parents are small business owners in the United States.

          8.    In 2013, I met my fiancé in San Diego while he was visiting the United States on

a tourist visa. He is 29-years-old with a Master’s Degree in engineering from Sharif University

of Technology in Tehran, Iran.

          9.    After traveling to Iran several times to visit my fiancé, we got engaged to be

married in October of 2015. Thereafter, we immediately engaged the services of a Los Angeles,

California immigration attorney in December of 2015 to assist us with the visa process for my

fiancé to move to the United States.

          10.   My fiancé’s petition for K-1 visa was submitted in February 2016 and was

 approved by April of 2016. The case was created by May of 2016.

          11.   In October 2016, my fiancé and I traveled to Abu Dhabi for the immigrant visa

interview. Thereafter, the visa was adjudicated and approved, and we were advised that

“additional administrative processing” could take up to six months.


II.       Harm Caused by the January 27, 2017 Executive Order:


          12.   Subsequent to the approval in October of 2016, but prior to my fiancé’s visa being

issued, President Trump signed an Executive Order on January 27, 2017 (January 27 Executive



                                                2
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Order) immediately prohibiting the issuance of visas to Iranian citizens, and preventing the entry

of Iranian citizens into the United States.

        13.    I have personally checked the U.S. State Department website every day since

October 2016 for status updates on my fiancé’s visa. The last entry was updated on January 10,

2017 containing only general information.

        14.    To date, I have paid approximately $5,000.00 in travel expenses to Abu Dhabi for

my fiancé’s immigrant visa interview. I have also paid approximately $3,500.00 in legal fees.

        15.    I received no guidance, information, clarity, instruction, or correspondence from

the United States government or my attorney concerning the issuance of visas and/or whether my

fiancé’s approved visa will be issued in course or whether it will not be issued under the terms of

the January 27 Executive Order.

        16.    I checked various internet websites and blogs every day since January 27, 2017 in

an attempt to gather further information about the issuance of visas.

        17.    I called the U.S. Embassy in Abu Dhabi. However, they did not provide me with

any information on my fiancé’s visa.

        18.    I called U.S. Senator Kamala Harris in hopes that her staff can help move my

fiancé’s case along, or at least provide me with information on its status. However, Senator

Harris’s office has also not helped me.

        19.    As a direct result of the uncertainty caused by the Executive Orders, I have been

extremely anxious, stressed, unable to sleep and eat, and nervous because I am unclear about

whether I will be able to be reunited with my fiancé and get married.


III.    Harm From March 6, 2017 Executive Order:




                                                 3
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       20.     President Trump signed an Executive Order on March 6, 2017 (March 6

Executive Order) prohibiting the issuance of visas to Iranian citizens.

       21.     The terms of the March 6 Executive Order prohibit the issuance of my fiancé’s

visa. I am concerned that if and when the March 6 Executive Order goes into effect, my fiancé’s

K-1 visa will never be issued, he will be unable to travel to the United States, and we will be

unable to get married in the United States as planned.

       22.     Prior to the January 27 and March 6 Executive Orders, my fiancé and I had been

planning an extravagant wedding ceremony in the United States that was scheduled for 2018.

       23.     To date, I have spent hundreds of hours planning my wedding and I have

executed contracts and paid $2,500.00 as a down payment to secure a wedding venue. An

additional $2,500.00 payment will become due in May of 2017. As a result of the uncertainty

surrounding my fiancé’s visa under the terms of the March 6 Executive Order, I don’t know if I

should continue to make payments to the wedding venue and/or otherwise continue planning our

wedding ceremony.

       24.     After the March 6 Executive Order was signed, I again called the U.S. Embassy in

Abu Dhabi but was still unable to receive any information. I continue to check the U.S. State

Department website on a daily basis, but there have been no updates posted.

       25.     I have received no guidance or information from the United States government

regarding my fiancé’s K-1 visa in the wake of the March 6 Executive Order.

       26.     I have joined this lawsuit as an anonymous Plaintiff because I am afraid that the

State Department, USCIS, the NCV, and/or the government agencies listed as Defendants will

take retaliatory action against me or my fiancé for participating in this action.




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       I, Jane Doe #1, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.



Executed this _8_ day of March, 2017, in _San Diego, CA_.

                                                             _____/s/ Jane Doe #1_____
                                                                    Jane Doe #1




                                                5
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                         EXHIBIT 8
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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )             Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )


                  DECLARATION OF JANE DOE #4 IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, Jane Doe #4, hereby declare and state as

follows:

       1.      I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.

I.     Background:


       2.      I currently reside in San Francisco, California. I am employed full time with an

architectural firm.

       3.      I am an Iranian citizen and was granted asylum in the United States in June 2016.

I am currently in the process of obtaining my Green Card. I am a member of the Erfran-e-



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Halgheh, also referred to as the Circle of Mysticism. I originally entered the United States with a

student visa. I applied for asylum in the United States approximately three and a half years ago

because I feared religious persecution in Iran. Members of my spiritual group have recently been

killed by Iranian officials and I am unable to return to Iran.

        4.     I have lived in the United States since fleeing Iran in 2013. My parents still live

in Iran and were planning to visit me this year. My parents applied for tourist visas in November

2016 at the U.S. Consulate in Istanbul, Turkey, and started the process of making travel

arrangements to see me.

II.     Harm Suffered Post January 27, 2017 Executive Order:

        5.     On January 27, 2017, President Trump issued an Executive Order (January 27

Executive Order) restricting the issuance of visas to Iranian citizens, and preventing Iranian

immigrants and nonimmigrants from entering the United States.

        6.     I was instructed by my immigration attorney not to travel outside of the United

States because of the January 27 Executive Order. I had been planning to travel this year to

Amsterdam to visit some friends who are currently living in Europe. My friends will be

returning to Iran later this year, and when that happens I will be unable to see then because I

cannot return to Iran.

        7.     The Executive Order also put into jeopardy the plans of my parents to visit my in

the United States.


III.   Harm from March 6, 2017 Executive Order


        8.     President Donald Trump signed an Executive Order on March 6, 2017 (March 6

Executive Order) prohibiting the issuance of visas to Iranian citizens effective March 16, 2017.



                                                  2
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          9.    The terms of the March 6 Executive Order prohibit the approval and issuance of

my parents’ tourist visas. I am concerned that if and when the March 6 Executive Order goes into

effect, my parents’ tourist visas will be denied and they will be unable to travel to the United

States.

          10.   My parents have called the U.S. Consulate in Istanbul but have not been able to

receive any information about their tourist visa. We have also checked the status of their visa

application online but there have been no updates on the status.

          11.   I do not have any family in the United States; all of my family is in Iran. I am

close to my family and the physical separation is very emotionally and mentally difficult for me.

I am unable to visit my parents in Iran because it is unsafe for me to return there. If and when the

March 6 Executive Order is enforced, I will face indefinite separation from my parents and the

rest of my family.

          12.   I am afraid that the State Department or other branches of the federal government

will take retaliatory action against me for being a party to this action. I am especially concerned

about retaliatory actions impacting my immigration status as I am still in the process for applying

for my Green Card, and about retaliatory actions affecting my parents’ visa application.




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       I, Jane Doe #4, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.



Executed this _7_ day of March, 2017, in _Cupertino, CA_.

                                                             _____/s/ Jane Doe #4______
                                                                    Jane Doe #4




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                         EXHIBIT 9
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                         THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                         Plaintiffs,             )
                                                 )
          v.                                     ) Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                       Defendants.               )


                  DECLARATION OF JANE DOE #8 IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, Jane Doe #8, hereby declare and state as

follows:

       1.      I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.


I.     Background:


       2.      I am an Iranian citizen currently living in Turkey and seeking to be admitted to

the United States as a refugee.

       3.      I grew up in Iran in a traditional Muslim household. The Muslim community in

Iran has not been accepting of my sexual orientation.

       4.      As a teenager living in Iran I did karate. At one karate event that I attended at the

age of sixteen, I met a man who was a year older than me. We became friends. When I was

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nineteen, he asked me to marry him. I told him I could not marry him because I was a lesbian

and in love with someone else. At first, the man seemed to accept my rejection of his marriage

proposal.

       5.      Later, when I was twenty years old, I was the editor of an underground LGBT

magazine, administrator of an LGBT rights group and counselor to other LGBT individuals. I

had also published a fiction book about a transgender man which discusses sex trafficking.

       6.      When I was twenty one years old, the man invited me to his sister’s house to

show me some LGBT books and materials. When I went to his sister’s house, he raped me. After

that, he continued to harass me and threaten me. He would sexually assault me about once per

month. One time, when we were smoking hookah, he burned my hand with the hookah coals.

The mark from this burn remains on the palm of my hand even now.

       7.      I was unable to extricate myself from this relationship because the man began to

blackmail me. He found out that I was the editor of an underground LGBT magazine and

threatened to expose me to the government if I did not marry him. His brother and other

members of his family worked for an office of the Iranian government that monitors the

activities of citizens, and his uncle was the regional head of a charitable organization that has ties

to the Islamic Revolutionary Guard Corps (also known as Sepah). I knew that he had the power

and connections to follow through on his threats. He began to threaten the safety of my sister. He

also told me that he would expose the fact that I was a lesbian to my family and that they would

be extremely ashamed of me, and also be placed in physical danger as a result. I became very

scared for my physical safety as well as the physical safety of my family.

       8.      I fled to Turkey in June 2014. When I fled, I wrote an email to my friend, Jane

Doe #9, who is now my partner and fiancée. She followed me to Turkey six months later. After a



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few months in Turkey, we became a couple. Recently, I proposed to her and we are now engaged

to be married.

       9.        My life in Turkey has been very difficult. Many people in Turkey are not

accepting of my sexual orientation. I have worked in the textile industry while here in Turkey. I

often work 14-hour days and get paid barely enough to buy minimal food and to pay our rent.

We can’t afford to buy medicine when we are sick. Our house is full of mold and we sleep on a

sofa. There is only one table and one chair in the room.

       10.       However, I have not given up on my advocacy while in exile in Turkey. I

received funds from Outright Action International, a leading human rights organization, to write

and publish one booklet in a three-part series. The booklet I wrote describes different types of

sexual orientations and terminologies to be used by reporters and media when writing articles

about the LGBT community. The booklet has been published by a publisher in Canada. I also

worked for a human rights organization called Justice for Iran until February 2016 as a

communications officer, managing their media, Facebook presence, and twitter feed. I will soon

begin working for another London-based LGBT organization focusing on lesbian and

transgender women.

       11.       My current situation, along with that of my partner’s, is unsustainable. Because

of my sexual orientation, I was unsafe in Iran and I am unsafe in Turkey. I have applied for

refugee status and would like to be resettled to the United States where I will be safe from

persecution and able to find stable employment.

       12.       I reached out to the Office of the UN High Commissioner for Refugees (UNHCR)

soon after I arrived in Turkey in June 2014 and sought to be admitted to a Refugee Admissions

Program. After a lengthy interview and vetting process, including multiple interviews in 2015,



                                                  3
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UNHCR determined that I had refugee status and provided me with documentation confirming

my designation as a refugee. UNHCR first referred me for resettlement in Canada. However, my

partner and I learned that Canada would not accept both of our applications together. I want to be

resettled with my partner. In December 2016, UNHCR referred me to the United States as a

candidate for resettlement through the Refugee Admissions Program (USRAP). I know that the

U.S. Refugee Admissions Program has admitted to the program many same-sex applicants.

       13.     In December 2016, I was interviewed by the International Catholic Migration

Commission (ICMC), which is a State Department contractor that interviews refugees who have

been referred for possible resettlement to the United States. I was waiting for my second

interview to be scheduled when the Executive Order was signed.


II.    Harm Suffered Due to the January 27, 2017 Executive Order:


       14.     I am aware that, on January 27, 2017, President Trump signed an Executive Order

(January 27 Executive Order) that negatively impacts the refugee admissions process for citizens

from certain countries, including Iran.

       15.     After the January 27 Executive Order was signed, the ICMC website posted a

notice informing me that refugees and refugee applicants from Iran pending admission to the

U.S. program could not travel to the United States due to the January 27 Executive Order. I was

very distraught. I have been waiting for this opportunity for so long and it is my only hope to

escape the horrible living conditions in Turkey and Iran. Because of the January 27 Executive

Order I am very concerned about whether I will ever be approved by the United States to

participate in the Refugee Admissions Program.




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          16.    In February, I learned from news reports that the January 27 Executive Order was

halted by U.S. courts. When I heard this news, I sent an email to ICMC asking whether my

second interview could be scheduled.

       17. On February 8, 2017, I received the following email response from ICMC:

          “Dear applicant,

          Thank you for your email,

          Currently, your case is pending USCIS interview to be scheduled. Be advised that your
          case status will not change during the suspension period.

          As stated in the Executive Order signed by the President, the United States government
          has suspended all refugee admissions for 120 days effective January 27, 2017.

          The Resettlement Support Center (RSC) Turkey and Middle East (TuME) will continue
          to maintain all case information and biodata on file for all refugees who have been
          referred for resettlement to the United States.

          You may write to info.rsc@icmc.net or call +90 212 219 2055 (Monday – Friday from
          13:00-15:00) with questions or if you wish to provide information on emergency
          situations or update your contact information.

          Please note the RSC will not be able to provide further information regarding the 120-day
          suspension at this time.”

          18.    I emailed ICMC again on February 17th and, on February 19th, received an

identical email response.

          19.    Since receiving those emails from ICMC, I have received no information or

communication from ICMC regarding my and my partner’s second interview.


III.      Harm From March 6, 2017 Executive Order:


          20.    I am aware that President Donald Trump signed an Executive Order on March 6,

2017 (March 6 Executive Order) that negatively impacts the refugee admissions process for

citizens from certain countries, including Iran, effective March 16, 2017.


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         21.   I checked the ICMC website after the March 6 Executive Order was signed. It

stated that refugees who have not already been approved for admission to the United States and

scheduled for departure — refugees like me and my partner — are impacted by the Executive

Order.

         22.   I am currently in limbo and do not know what will happen with my USRAP

application. If and when the March 6 Executive Order is enforced, I will be unable to move to

the United States with my partner. I am unable to return to Iran for fear of being exposed as an

LGBT person and subjected to violence by the Iranian government. I also fear violence here in

Turkey.

         23.   I fear that the U.S. government will retaliate against me because of my

involvement in this lawsuit. I am concerned that my involvement will impact my acceptance in

the Refugee Admission Program and harm my chances to be approved by the United States. I

also fear persecution from the Iranian government if it were to become aware of my application

for refugee status in the United States, or my involvement in this lawsuit.




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       I, Jane Doe #8, declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.


Executed this _9_ day of March 2017, in _Denizli, Turkey_.

                                                         _____/s/ Jane Doe #8_____
                                                                Jane Doe #8




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                         EXHIBIT 10
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                         THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                         Plaintiffs,             )
                                                 )
          v.                                     ) Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                       Defendants.               )


                  DECLARATION OF JANE DOE #9 IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, Jane Doe #9, hereby declare and state as

follows:

       1.      I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.


I.     Background:


       2.      I am an Iranian citizen currently living in Turkey and seeking to be admitted to

the United States as a refugee.

       3.      I grew up in Iran in a traditional Muslim household. The Muslim community in

Iran has not been accepting of my sexual orientation or my gender identity. I am a transgender

and LGBT woman.



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       4.      When I was a teenager, I taught a class about metaphysics and the philosophy of

the mind to others my age in a connection with a program sponsored by the Iranian Department

of Education. My class became very popular. The imam responsible for running the local

Department of Education program noticed the popularity of my class and believed I was smart.

This imam tried to force me to work for the Islamic Revolutionary Guard Corps (known as IRGC

or Sepah), but I refused to do so.

       5.       One day, someone from the Ministry of Intelligence of the Islamic Republic of

Iran (also known as Ettelaat or MOIS) came to my school, pulled me out of class without my

parents’ permission, and took me back to their offices. I believe that the Ettelaat had found out

about my gender identity and sexual orientation and were targeting me on that basis as well as

due to my views on metaphysics. At their offices the Ettelaat officials slapped me in the face,

punched me in the throat, and kicked me with their military boots. After that, they came to my

house and took all of my books and my home computer. They also conspired to get me kicked

out of school by ensuring that my teachers gave me a “zero” on each of my exams, regardless of

the actual grade I had earned. When I tried to re-enroll in a different high school, I was not

allowed to do so.

       6.      I felt physically unsafe in Iran and feared further violence from the Ettelaat or

other parts of the Iranian government.

       7.      I heard from my friend, Jane Doe #8, who is now my partner, that she had run

away to Turkey. Six months later, I also fled from Iran to Turkey. Recently, my partner proposed

to me, and we are now engaged to be married.

       8.      I have been living in exile in Turkey since December 2014. My life in Turkey has

been very difficult. Many people in Turkey are not accepting of my sexual orientation or my



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gender identity. Much of Turkish society is transphobic and homophobic. Finding employment

as a transgender woman in Turkey is difficult. I have been fired from many jobs just for being

transgender. My partner and I are living in poverty. The law and the Turkish police do not

protect us from the abuse we face at the hands of employers and neighbors. I was raped in

Turkey, but because I do not speak Turkish and because the Turkish police are not sympathetic

to people like me, there was nothing I could do.

       9.      A few times I went to get laser facial hair removal. The doctor and her assistant

were so transphobic that they intentionally put the laser device in my eye. During another

session, they put the laser device on my head, causing the hair on my head to fall out. I had to

stop getting laser hair removal. Now, I only leave the house once a week. I feel like I am living

in prison.

       10.     Because of my sexual orientation and my gender identity, I was unsafe in Iran and

I am unsafe in Turkey. I would like to be resettled to the United States where I will be safe from

persecution and able to find employment.

       11.     I reached out to the Office of the UN High Commissioner for Refugees (UNHCR)

soon after I arrived in Turkey and sought to be admitted to a Refugee Admissions Program.

After a lengthy interview and vetting process, UNHCR determined that I had refugee status and

provided me with documentation confirming my designation as a refugee in April 2016. In

December 2016, UNCHR referred me to the United States as a candidate for resettlement

through the U.S. Refugee Admissions Program (USRAP). I am now waiting for the decision of

the United States on acceptance to the program. I know that the U.S. Refugee Admissions

Program has admitted to the program many same-sex applicants and I am waiting to be

processed.



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         12.    In December 2016 my partner and I had our first interview with the International

Catholic Migration Commission (ICMC), which is a State Department contractor that interviews

refugees who have been referred for possible resettlement to the United States. I then waited for

our second interview to be scheduled.


II.      Harm Suffered Due To January 27, 2017 Executive Order:


         13.    I am aware that, on January 27, 2017, President Trump signed an Executive Order

(January 27 Executive Order) that impacts the refugee admissions process for citizens from

certain countries, including Iran.

         14.    After the January 27 Executive Order was signed, the ICMC website posted a

notice informing me that refugees and refugee applicants from Iran pending admission to the

U.S. program could not travel to the United States due to the January 27 Executive Order. I was

very distraught when I heard this news. I have been waiting for this opportunity for so long and it

is my only hope to escape the horrible living conditions in Turkey and Iran. Because of the

January 27 Executive Order, I am very concerned about whether I will ever be approved by the

United States to participate in the Refugee Admissions Program.

         15.    In February, I learned from news reports that the January 27 Executive Order was

halted by U.S. courts. When I heard this news, my partner sent an email to ICMC asking whether

our second interview could be scheduled.

      16. On February 8, 2017, we received the following email response from ICMC:

         “Dear applicant,

         Thank you for your email,

         Currently, your case is pending USCIS interview to be scheduled. Be advised that your
         case status will not change during the suspension period.


                                                4
       Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 144 of 219




        As stated in the Executive Order signed by the President, the United States government
        has suspended all refugee admissions for 120 days effective January 27, 2017.

        The Resettlement Support Center (RSC) Turkey and Middle East (TuME) will continue
        to maintain all case information and biodata on file for all refugees who have been
        referred for resettlement to the United States.

        You may write to info.rsc@icmc.net or call +90 212 219 2055 (Monday – Friday from
        13:00-15:00) with questions or if you wish to provide information on emergency
        situations or update your contact information.

        Please note the RSC will not be able to provide further information regarding the 120-day
        suspension at this time.”

        17.    My partner sent another email to ICMC on February 17th, and received the same

email response on February 19th.

        18.    Since we received those emails from ICMC, I have received no information or

communication from ICMC regarding our second interview.


III.    Harm From March 6, 2017 Executive Order:


        19.    I am aware that President Donald Trump signed an Executive Order on March 6,

2017 (March 6 Executive Order) that negatively impacts the refugee admissions process for

citizens from certain countries, including Iran, effective March 16, 2017.

        20.    My partner checked the ICMC website after the March 6 Executive Order was

signed. It stated that refugees who have not already been approved for admission to the United

States and scheduled for departure — refugees like me and my partner — are impacted by the

Executive Order.

        21.    I am currently in limbo and do not know what will happen with my USRAP

application. If another Executive Order is signed that delays or blocks the refugee applications of

Iranians to the USRAP, I will be unable to move to the United States with my partner. I am



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unable to return to Iran for fear of being subjected to violence by the Iranian government. I also

fear violence here in Turkey.

       22.     I fear that the U.S. government will retaliate against me because of my

involvement in this lawsuit. I am concerned that my involvement will impact my acceptance in

the Refugee Admission Program and harm my chances to be approved by the United States. I

also fear persecution from the Iranian government if it were to become aware of my application

for refugee status in the United States, or my involvement in this lawsuit.




                                                 6
     Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 146 of 219




       I, Jane Doe #9, declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.


Executed this _9_ day of March, 2017, in _Denizli, Turkey_.

                                                         _____/s/ Jane Doe #9______
                                                                Jane Doe #9




                                                  7
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                         EXHIBIT 11
      Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 148 of 219




                         THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                         Plaintiffs,             )
                                                 )
          v.                                     ) Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                       Defendants.               )


                  DECLARATION OF JANE DOE #10 IN SUPPORT OF
                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


       Pursuant to Title 28 U.S.C. Section 1746, I, Jane Doe #10, hereby declare and state as

follows:

       1.       I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.


I.     Background:


       2.       I am a citizen of Iran currently living in the United States.

       3.       I was born in Iran and met and married my husband in Iran. My two sons were

born in Iran.




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       4.      While living in Iran, I felt unsafe. There are a lot of societal pressures on women

in Iran. Women are expected to behave a certain way and dress a certain way and it is dangerous

for them not to meet these expectations. There are also societal pressures on families. There were

also other factors that made Iran a bad place to live: the pollution, and other health safety

hazards. I was very concerned about the type of life my sons would be able to have in Iran.

       5.      My sister lives in Sweden. When I felt unsafe in Iran and experienced mental

anguish as a result of these feelings, I confided in my sister. My sister is a Christian and she told

me about Christian teachings and Christianity. Christianity began to appeal to me. However, I

did not know any Christians in Iran, and while I lived in Iran I could not outwardly identify as a

Christian.

       6.      I came to the United States in December 2015. I felt that God intended for me to

come to the United States. I converted to Christianity in the United States. I now identify as

Christian. I petitioned for asylum for me and my sons on the basis of religious persecution. I was

granted asylum here in the United States.

       7.      I did not come to the United States for economic reasons. My husband and I were

financially secure in Iran.

       8.      My husband remains in Iran. I fear that the Iranian government will do something

to harm him because I am a Christian. I fear for my husband’s safety. I also fear for my

husband’s health. Because he is in Iran without us, and life is difficult in Iran, I worry that his

health will deteriorate and he will have a heart attack or another physical ailment.

       9.      My husband is a Muslim. However, he is not a practicing Muslim. I hope that he

too will convert to Christianity. I am working on him to do so.

       10.      I submitted an I-730 Asylee Relative Petition on behalf of my husband recently.



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II.    Harm Suffered Under January 27, 2017 Executive Order or any Subsequent

Executive Order That Affects Relative Petitions:


       11.     I am aware that, on January 27, 2017, President Trump signed an Executive Order

(EO) restricting entry into the United States for citizens from certain countries, including Iran.

       12.     If the January 27 Executive Order is enforced, or any subsequent Executive Order

is issued which affects relative petitions, my plans to have my husband join his family in the

United States will be ruined.

       13.      I am very anxious for my husband to join me and my sons in the United States. I

worry for his safety and health every day. If my husband’s petition is delayed, or worse, denied, I

am not sure whether I will be able to deal with this fact emotionally. I am also concerned that my

husband’s health will deteriorate if he is unable to be reunited with his family here.

       14.     I cannot go back to Iran for fear of religious persecution. If my husband cannot

join his family here, we will be separated indefinitely.

       15.     I fear that the U.S. government will retaliate against me and my family because of

my involvement in this lawsuit. I am especially concerned that my involvement will impact my

husband’s I-730 petition.

       16.     I declare that the statements I have made above have been correctly translated into

English from Persian, as they have been read to me in their entirety and they are my true and

correct statements.




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       I, Jane Doe #10, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.


Executed this _28_ day of February, 2017, in _San Jose, CA_.

                                                            ______/s/ Jane Doe #10______
                                                                  Jane Doe #10




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                         EXHIBIT 12
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                         THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                         Plaintiffs,             )
                                                 )
          v.                                     ) Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                       Defendants.               )


                 DECLARATION OF JANE DOE #11 IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, Jane Doe #11, hereby declare and state as

follows:

       1.      I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.


I.     Background:


       2.      I am a dual citizen of Iran and France.

       3.      My father is a French citizen. He lives in Paris, France.




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     Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 154 of 219




       4.      My mother is an Iranian citizen and a naturalized French citizen. My mother

married my stepfather, who is a U.S. citizen, a year ago. They have lived in Los Angeles,

California for the last few years. My mother is a legal permanent resident of the United States.

       5.      My cousins also live in the Los Angeles area.

       6.      My twin sister is currently in the Los Angeles area.

       7.      My mother’s family lives in Iran. Many of my friends live in Iran as well.

       8.      I completed high school in France. After high school, I studied law at a French

University. I made and still have many friends in France. During my studies, I completed an

internship with the Consulate General of France in Los Angeles. I used the internship at the

French Consulate to start building my professional network in the United States.

       9.      Upon completion of my law program in France, I applied and was accepted to

Cornell University’s Master of Laws (LLM) program. The LLM degree is an internationally

recognized postgraduate law degree often pursued by those like me who hold an undergraduate

law degree. LLM students are eligible to work in the United States, even without sponsorship by

a specific employer, for one year after graduation. My LLM degree will also allow me to sit for

the New York Bar Exam, which I plan to study for and take in July 2017.

       10.     In connection with my LLM program, I applied for and received an F-1 visa. My

visa expires in June 2021. I came to the United States in August 2016 to start my LLM program.

I will graduate from my program in May 2017.

       11.     At Cornell, I am a member of a legal assistance clinic. As part of this clinic, I am

conducting an advocacy project focusing on January 27 Executive Order issued by President

Trump banning citizens of seven predominantly Muslim countries from entering the United

States. More specifically, the project explores the effects of the immigration ban on the



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numerous Iranian students and scholars studying and researching in U.S. universities in the fields

of science and technology, and its harmful consequences on the progress of American science. I

created a questionnaire as part of this research, sent out to Iranian students and scholars from

various universities across the country including Cornell University, University of California

Berkeley, University of California Los Angeles, Stanford University and MIT. The data reveals

that most of these Iranians are visa holders with a significant number of women. The data also

reveals that most of these Iranians are in the United States as PhD candidates. The others are in

their majority graduate students. Finally, the rest are either full-time professors or visiting

professors. The majority of the individuals who filled out the questionnaire are in the field of

electrical engineering. The majority of them have made publications. This shows their important

contribution to the progress of science and technology.

          12.   I hope to gain employment with a private law firm when I graduate from Cornell.

I have submitted applications to law firms specializing in corporate law, as well as entertainment

law, on both the West and East coasts of the United States. I have also applied to positions at

U.S. and British law firms with offices in France.

          13.   I have had several interviews with the offices of U.S. and British firms located in

France.

          14.   My first choice would be to receive an offer to work at a law firm in the United

States. I believe that my international background would be an asset to a firm with

internationally-focused clients such as multinational corporations.

          15.   I would like to settle down in the United States in the long-term as well. I hope to

apply for legal permanent resident status in the future.


II.       Harm from March 6, 2017 Executive Order


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       16.     I am aware that President Donald Trump signed an Executive Order on March 6,

2017 (March 6 Executive Order) restricting entry into the United States for citizens from certain

countries, including Iran.

       17.     This past winter I travelled to France to see my father. After visiting France I

travelled to Iran to see my mother’s family and to take care of administrative matters, such as

renewing my Iranian passport and National Identity Document. I returned to the United States

just a few days before the President Donald Trump's first January 27, 2017 Executive Order was

signed. I was lucky. If I had returned a few days later, I would have been blocked from entering

the United States.

       18.     I was planning on visiting my father for my upcoming spring break, but have

chosen not to as I fear being denied entry to the United States.

       19.     If and when the March 6 Executive Order is enforced, it will prevent me from

renewing my visa or applying for work authorization. I will be forced to leave the United States.

If I leave the United States and am not able to receive a visa to re-enter, I will be separated from

my mother, sister, and friends in Los Angeles indefinitely. My plans to apply for permanent legal

residency in the United States will also be thwarted.

       20.     If I am not able to receive work authorization in the United States, my

employment prospects will be diminished because prospective employers in the United States

will not want to hire me.

       21.     I also fear that, because the March 6 Executive Order blocks me from receiving

visas to enter the United States in the future, my employment prospects with any law firms with

offices in France will also be diminished. Most of the jobs to which I am currently applying

would require me to travel between the United States and other countries. The practice of law at



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a firm that has multinational corporations as clients requires attorneys to travel abroad. I fear that

if I am unable to travel, my chances of employment at such a law firm will be significantly

diminished. Or, even if I am hired at such a firm, my ability to participate in many of the firm’s

cases — and, as a result, my ability to advance within the firm — will be severely hampered.

        22.     Even if I am somehow able to receive authorization to work in the United States, I

also fear discrimination from employers who, due to the March 6 Executive Orders singling out

the citizens of Iran, will generally not wish to hire Iranian-Americans or will feel that it is too

risky to do so regardless of their legal status.

        23.     I fear that the U.S. government will retaliate against me and my family because of

my involvement in this lawsuit. I am especially concerned that my involvement will impact any

future visa applications by me or my family, or that I will encounter problems when attempting

to re-enter the United States after traveling abroad.




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       I, Jane Doe #11, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.


Executed this _10_ day of March, 2017, in _Ithaca, NY_.

                                                            _____/s/ Jane Doe #11______
                                                                   Jane Doe #11




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                         EXHIBIT 13
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                         THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                         Plaintiffs,             )
                                                 )
          v.                                     ) Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                       Defendants.               )


                 DECLARATION OF JANE DOE #12 IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, Jane Doe #12, hereby declare and state as

follows:

       1.      I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.


I.     Background:


       2.      I am an Iranian citizen with legal permanent resident status in France. I am an F-1

student visa holder currently living in the United States and completing my sophomore year of

my undergraduate degree at a four-year university.




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       3.      While I was born in Iran, I spent most of my life in France and grew up in France.

My immediate family lives in France or Iran. I decided to complete my college degree in the

United States because I am interested in American culture and politics and wanted to experience

life in the United States. I am planning to return to France to find a job after I complete my

college degree.

       4.      I am required to renew my F-1 student visa, which is a multiple-entry visa, every

two years.

       5.      In order to renew my visa, I have to travel to the U.S. embassy in Paris, France,

because it is the embassy that issued my visa. I am planning to finish the current semester and

travel to France during my summer vacation in 2017 to visit my family and renew my visa.

       6.      I am also planning to travel to France during my upcoming spring break to renew

my French residency card. I am required to travel to France to renew my residency card in

person within a specific time period; I am not able to travel to France any earlier or later than the

specific time period allotted. If I do not travel to France during spring break, I will lose my legal

permanent resident status in France.


II.    Harm Suffered Under January 27, 2017 Executive Order


       7.      I am aware that, on January 27, 2017, President Trump signed an Executive Order

(EO) restricting entry into the United States for citizens from certain countries, including Iran.

       8.      When I learned that the President was planning to sign an Executive Order that

might impact visa-holders from Iran, I contacted an organization that provides assistance for

international students and asked how the Executive Order would impact me. The organization

told me to contact the Iranian embassy, which in turn referred me to the U.S. embassy in France.



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I called the U.S. embassy in France multiple times, and no one could give me a clear answer as

to how the Executive Order impacted my student visa.

        9.     The week after the Executive Order was signed, my university sent an email to all

the students on campus explaining that over 50 Iranian students and over 20 Iranian scholars

were being impacted by the Executive Order. The university also made counselors and other

therapeutic resources available to students like me who were impacted by the Executive Order.


III.   Harm from March 6, 2017 Executive Order


        10.    I am also aware that President Donald Trump signed an Executive Order on

March 6, 2017 (March 6 Executive Order) prohibiting the issuance of visas to Iranian citizens.

        11.    As a result of the March 6 Executive Order, I am very concerned that I will be

unable to complete my college degree in the United States. If and when the March 6 Executive

Order is enforced, I will be unable to receive a new F-1 visa when I travel to Paris, France this

summer. If I do not renew my F-1 visa as required I will be unable to return to the United States

to complete my studies.

        12.    I will suffer greatly if I do not complete my degree in the United States. I have

invested significant time, resources, and money into my current degree. I have already signed a

lease in the United States for the coming school year. Because I am studying American politics,

it is likely that I will not be able to transfer many of my course credits and I will have to

essentially start a new college degree. I would likely have to apply to a university in Europe, but,

since the application deadlines have already expired for this year, I would not be able to begin

studying at a European university until 2018. I would essentially lose three years of studying—

the two years that I spent in the United States and the year that I would have to wait before I

could begin my studies in Europe. Being forced to abandon my studies after two years will also

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negatively impact my job prospects. I will likely be a less desirable job applicant and it will

negatively reflect on my grades.

       13.     I fear that the U.S. government will retaliate against me and my family because of

my involvement in this lawsuit. I am especially concerned that my involvement will impact any

future visa applications by me or my family, or that I will encounter problems when attempting

to re-enter the United States after traveling abroad.




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       I, Jane Doe #12, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.


Executed this __10___ day of March, 2017, in Davis, CA.

                                                            ______/s/ Jane Doe #12_______
                                                                  Jane Doe #12




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                         EXHIBIT 14
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                         THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                         Plaintiffs,             )
                                                 )
          v.                                     ) Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                       Defendants.               )


                 DECLARATION OF JANE DOE #13 IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Pursuant to Title 28 U.S.C. Section 1746, I, Jane Doe #13, hereby declare and state as

follows:

        1.      I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.


I.      Background:


        2.      I am an Iranian citizen and lawful permanent resident of the United States. My

parents and sister are also Iranian citizens and live in Iran.

        3.      I am a Muslim. My parents and sister are also Muslim.




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         4.    I grew up in Iran and completed my undergraduate education there. I was a

political activist during the Green Movement in Iran.

         5.    I first arrived in the United States in 2010 on an F-1 student visa in order to enroll

in a graduate degree program. While working toward my graduate degree, I learned that the

government of Iran had tried and convicted me in absentia on the basis of my previous political

actions. As a result, I am unable to ever return to Iran.

         6.    I received asylum in the United States in December 2011. In a few months, I will

become eligible to seek U.S. citizenship.

         7.    My parents have visited me in the United States twice in the past seven years. My

mother and father both visited me in 2011, and my mother visited me in 2014 as well.

         8.    Each time my parents intended to visit the United States, I provided them with,

among other things, documentation of my legal status as an asylee as well as a letter of

invitation. They submitted these documents along with their visa application. My parents

successfully applied for and received tourist visas from the U.S. Consulate in Dubai in 2011 and

my mom successfully applied for and received a tourist visa from the U.S. Consulate in Dubai in

2014.

         9.    The officials at the U.S. Consulate in Dubai did not ask my parents any questions

about my religion or their religion in either 2011 or 2014.

         10.   After I became engaged to be married to a U.S. citizen, my parents planned to

come to the United States for my wedding. I greatly looked forward to seeing them and began

making plans for my wedding ceremony. I expected that they would be able to obtain tourist

visas as they had done in the past.




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       11.     My parents applied for a tourist visa. This time, I provided them with far more

supporting documentation than I had provided for their visa applications in either 2011 or 2014.

My fiancé’s parents, who are U.S. citizens by birth and not of Iranian descent, provided my

parents with letters of invitation, as did my fiancé. I provided them with a letter of invitation,

documents showing my finances, and documents evidencing my legal status as an asylee and

lawful permanent resident, among other things. My parents received an appointment date for

their visa interview.


II.    Harm Suffered Under January 27, 2017 Executive Order


       12.     I am aware that on January 27, 2017, President Trump signed an Executive Order

(January 27 Executive Order) immediately restricting entry into the United States for citizens

from certain countries, including Iran.

       13.     My parents received an email stating that their visa appointment had been

cancelled. After a federal court preliminarily enjoined the January 27 Executive Order, my

parents’ appointment was rescheduled.

       14.     After the federal court’s preliminary injunction of the January 27 Executive Order

but before President Donald Trump signed a new Executive Order on March 6, 2017 (March 6

Executive Order), my parents traveled to Dubai for their appointment and interview.

       15.     In response to the questions of the consular officials, my parents said that they

were traveling to visit me for my wedding, and that I was an asylee and lawful permanent

resident of the United States.

       16.     My parents reported to me that the consular officials became visibly upset when

they heard that I was an asylee. They then asked my parents if they intended to apply for asylum.

My parents assured the consular officials that they did not intend to apply for asylum; that they

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had successfully obtained tourist visas in the past; that they had returned to Iran each time after

visiting me in 2011 and 2015; that they had every intention of returning to Iran after my

wedding; that they were happy with their life in Iran; and that their other daughter, my sister,

lived in Iran.

        17.      The consular officials stated that they did not understand how I had entered the

United States and that I was not “in the system.”

        18.      The consular officials then asked, “what is your daughter’s religion?”

        19.      My parents were surprised because they had never before been asked a question

about religion during a tourist visa interview. They replied that I was a Muslim.

        20.      At the conclusion of the interview, my parents’ application for a tourist visa was

denied. The consular officials gave no basis for the denial.

        21.      My mother informed me that a couple who were in a substantially similar

position— also applying for a tourist visa to a visit a relative and asylee in the United States —

were approved for a tourist visa on the same day that my parents’ tourist visa was denied. The

other couple was being interviewed next to my parents. Their interview, like that of my parents,

was conducted in Farsi and my mother was able to overhear the couple’s responses to the

interviewer’s questions. My mother gleaned from their conversation that there was one

significant difference between their application and hers: the other couple were Armenian

Christians, while my parents are Muslim.


III.   Harm from March 6, 2017 Executive Order


        22.      I am aware that President Donald Trump signed an Executive Order on March 6,

2017 prohibiting the issuance of visas to Iranian citizens.



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       23.     If and when the March 6 Executive Order is enforced, my parents will be unable

to re-apply for and receive a tourist visa. As a result of the March 6 Executive Order, I am very

concerned that my parents will be unable to attend my wedding in the United States, or that they

will never be able to visit me and my fiancé in the United States.

       24.     My fiancé and I have already been forced to postpone our wedding plans and

contemplate significant changes to the ceremony. It is not possible for us to get married in Iran

because it is not safe for me to return to Iran. We could plan to have a wedding ceremony in

Europe or elsewhere, but that will require my fiancé’s American family to travel abroad. Or, if

we proceed with a wedding in the United States, my parents will be unable to attend.

       25.     The thought that I will be unable to have my parents at my wedding, or that I will

be unable to host them in my home in the future, is crushing. It has caused me great mental

anguish.

       26.     I fear that the U.S. government will retaliate against me and my family because of

my involvement in this lawsuit. I am especially concerned that my involvement will impact any

future visa applications by my family or my imminent naturalization proceedings.




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       I, Jane Doe #13, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.


Executed this _13____ day of March, 2017, in __Washington DC______.

                                                            ______/s/ Jane Doe #13_____
                                                                  Jane Doe #13




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                         EXHIBIT 15
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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )              Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )


                  DECLARATION OF JOHN DOE #1 IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

  Pursuant to Title 28 U.S.C. Section 1746, I, John Doe #1, hereby declare and state as follows:
    1. I am over the age of eighteen years. I have personal knowledge of the facts set forth

herein and am competent to testify thereto.

    I.       Background:

    2. I am an Iranian citizen. I first arrived in the United States on an F-1 student visa in 2015.

My visa expires on June 7, 2017. My wife accompanied me on an F-2 visa for spouses of

students. Her visa expires on July 30, 2017.

    3. Both of our visas are multiple-entry visas.

    4. I do not have any family in the United States. My entire family, as well as my wife’s

family, lives in Iran.




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   5. In September 2015, I started a PhD program in Finance and Economics at Columbia

University in New York, NY. While the program is formally five years long, most candidates

typically take six years to complete their PhDs. I am currently in the second year of my PhD

program.

   6. My wife has a PhD in electrical engineering from the University of British Columbia in

Vancouver, Canada. She has completed research on the newest generation of wireless

communication systems and on energy harvesting and working toward more sustainable energy

systems. She is a published author in the journal of the Institute of Electrical and Electronics

Engineers (IEEE), the most prominent journal in the field of electrical engineering.

   7. When we moved, my wife was planning to apply for a green card so that she could secure

employment in her field in the United States. We paid $2,000.00 to retain an immigration

attorney for the first phase of her green card application.

   II.     Harm Caused by the January 27, 2017 Executive Order:

   8. On or about December 24, 2016, my wife and I flew to Iran to visit our families.

   9. On or about January 22, 2017, I flew back to the United States. My wife was planning to

join me later that week and had purchased a ticket for a January 28, 2017 Turkish Airlines flight

from Esfahan, Iran to New York, NY.

   10. On January 27, 2017, President Trump signed an Executive Order (January 27 Executive

Order) preventing the entry of Iranian visa holders as well as others into the United States.

   11. My wife attempted to board her flight on January 28, but was prevented from boarding by

Turkish Airlines, citing the January 27 Executive Order.

   12. On or about January 30, 2017, my wife attempted to board a flight from Tehran, Iran to

the United States, but was again turned away by the airline and not permitted to board.



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       13. My wife was unable to successfully board a flight and enter the United States until

February 4, 2017.


III.      Harm From March 6, 2017 Executive Order:


       14. President Donald Trump signed an Executive Order on March 6, 2017 (March 6

Executive Order) prohibiting the issuance of visas to Iranian citizens.

       15. The visas upon which my wife and I entered the United States expire this summer. If and

when the March 6 Executive Order is enforced, we will be unable to renew our visas. Because

we will be unable to renew our visas we will be unable to travel outside of the United States. As

a result, my wife and I will be separated indefinitely from our families in Iran.

       16. If I am forced to return to Iran for a family emergency or due to other circumstances

while the March 6 Executive Order is enforced, and if any new visa application I submit is

denied, I will be forced to drop out of my U.S. PhD program.

       17. If I am forced to return to Iran permanently I will likely be unable to complete my PhD

studies and it will be very difficult for me to find employment. I protested against the Iranian

government during the Green Movement after the 2009 Iranian presidential election. I was

detained for thirty days while I was an undergraduate student. As a result of my political activity,

I was permanently enjoined from studying in Iran by the Iranian government.

       18. In my opinion, it is very unlikely that the ban on entry will be lifted pursuant to its own

terms as to individuals from Iran. The March 6 Executive Order requires the Secretary of

Homeland Security to produce a list of countries that “do not provide adequate information” to

adjudicate visas and other admissions. It is likely that Iran will be on that list, and very unlikely

that Iran and the United States will reach agreement regarding the information that needs to be



                                                     3
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provided. Thus, I believe that the prohibition on entry of Iranian nationals into the United States

will become permanent.

   19. I am joining this lawsuit as an anonymous plaintiff because various government agencies

are named as Defendants, and I am scared of retaliation and consequences against me and my

wife if I reveal my identity.




                                                 4
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       I, John Doe #1, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.



Executed this _10_ day of March, 2017, in _New York, NY__.

                                                            _____/s/ John Doe #1______
                                                                   John Doe #1




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                         EXHIBIT 16A
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                         EXHIBIT 16B
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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )               Civil Action No. 17-cv-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )


           SUPPLEMENTAL DECLARATION OF JOHN DOE #3 IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, Jane Doe #1, hereby declare and state as

follows:

       1.      I am over the age of eighteen years. I have personal knowledge of the facts set

   forth herein and am competent to testify thereto.

       2.      My wife and I currently reside in Tehran, Iran.

       3.      This declaration supplements the declaration executed on February 7 and already

   filed with this Court to update the record of ongoing harm and impact resulting from the

   January 27, 2017, Executive Order, “Protecting the Nation from Foreign Terrorist Entry Into

   the United States” (the “Executive Order”).

       4.      Prior to the Executive Order, I was awarded a fellowship to conduct research at a

   top hospital in Boston, Massachusetts, and planned to start my fellowship in February 2017.

       5.      I petitioned for a J-1 visa for myself, and a J-2 visa for my wife at the same time.
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We both had our visa interviews on October 12, 2016 at the U.S. Consulate in Dubai. Some

time after the interview, my visa was approved. My wife’s visa petition was placed in

administrative processing.

   6.      Due to the intervention of the Executive Order, the U.S. Consulate in Dubai

refused to issue my visa. My wife’s visa petition remained in administrative processing after

the Executive Order was signed.

   7.      I called the U.S. Consulate in Dubai to ask about the status of my J-1 visa and my

wife’s J-2 visa, but the Consulate did not provide me with any answers.

   8.      As a result of the Executive Order, I was forced to push back the start date of my

fellowship to March 2017.

   9.      Not until the weekend of February 25-26, 2017, did I receive an email from the

U.S. Embassy in Dubai instructing me to drop off my passport for the issuance of my J-1

visa. I have made arrangements to ensure that the visa is stamped into my passport.

   10.     However, my wife’s visa petition remains in administrative processing. Even if

my visa is issued, but my wife’s visa is not approved and issued, I will have to face the

decision of being separated from my wife, or withdrawing from my fellowship.

   11.     Even if my visa and my wife’s visas are issued, and we are able to travel to the

United States for my fellowship, I fear that we will be unable to travel outside of the United

States due to our status as J-1 and J-2 visa holders. If we are unable to travel, we will be

unable to see our families in Iran.

   12.     I am also concerned that, as a result of the Executive Order, I will be unable to

renew my work authorization in the United States in the future. I also fear that my wife and I

will be unable to petition for legal permanent residency in the United States in the future.
     Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 187 of 219




       I, John Doe #3, declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct to the best of my knowledge.


Executed this _25_ day of February, 2017, in _Tehran, Iran__.

                                                           _____/s/ John Doe #3________
                                                                  John Doe #3
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                         EXHIBIT 17
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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )              Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )


                      DECLARATION OF JOHN DOE #5,
         ON BEHALF OF HIMSELF AND HIS MINOR CHILD BABY DOE #1,
     IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, John Doe #5, on behalf of himself and his

minor child Baby Doe #1, hereby declare and state as follows:

       1.      I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.

       2.      My son is Baby Doe #1. He is a minor approximately 7 months old.


I.     Background:


       3.      I am an Iranian citizen. I entered to United States in September 2009 on an F-1

student visa. I have been studying and working in the United States since then. I received a

Masters Degree in mechanical engineering in 2012 from the University of Buffalo in New York,

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        Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 190 of 219




and in 2015 I received my PhD in mechanical engineering from the University of Buffalo. I am

currently working as a post-doctoral fellow with the SUNY Research Foundation. After entering

the United States on an F-1 visa in 2009, I returned to Iran two times. Once in 2012 because I

had a family emergency, and again in 2013 to be married to my wife. Both times I applied for

and received a valid F-1 visa to return to the United States. I was interviewed and had to pass a

lengthy security clearance all three times I applied for an F-1 student visa.

         4.    The F-1 visa on which I entered the United States most recently was a single-

entry F-1 visa. It has expired.

         5.    I live with my wife and our infant son, Baby Doe #1, in New York. After we

were married in 2013, my wife traveled with me to the U.S. with a valid F-2 visa, which is

available for dependents of F-1 visas.

         6.    My son was born in the United States in August 2016. He has both a United

States and Iranian passport.

         7.    On January 4, 2017, my wife and son traveled to Iran to introduce my son to our

family in Iran. Most of my family is in Iran and my parents and in-laws in particular were very

excited to meet my son, as he is currently their only grandchild. My wife and son were planning

to stay in Iran for several months so that everyone in our families could meet my son. I

purchased a plane ticket for my wife and son to fly back to the United States on or about April 4,

2017.

         8.    Before my wife left for Iran, we scheduled an appointment at the U.S. consulate

in Dubai on January 17, 2017 for my wife to apply for a new F-2 visa. My wife had to travel

from Tehran to Dubai for the interview and was unable to take our son on her journey to Dubai.

My wife was interviewed at the U.S. consulate and provided all the necessary documentation.



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The U.S. consulate approved her F-2 visa request that same day, January 17, 2017. My wife left

Dubai immediately after her interview because she needed to return to our son in Iran.


II.    Harm Suffered Post January 27, 2017 Executive Order:


       9.      After an F-2 visa is approved by the U.S. consulate, it takes several days to

process the paperwork and issue the F-2 visa. On January 26, 2017, at approximately 2:00 a.m.,

I received an email from the U.S. consulate stating that my wife’s F-2 visa was ready to be

issued and asking my wife to bring her passport to the U.S. consulate. Shortly afterwards, my

wife made arrangements for an agency in Iran to take her passport to the U.S. consulate and issue

her F-2 visa. Agencies like this are very common in Iran and are often used by individuals like

my wife, who are unable to stay in Dubai while consulate takes several days to issue the visa

after it is approved. These agencies typically take about 4 to 5 days to travel to Dubai, receive

the visa, and return the passport.

       10.     On January 27, 2017, President Trump signed an Executive Order (January 27

Executive Order) preventing the entry of Iranian visa holders and others into the United States.

       11.     Because of the January 27 Executive Order, the U.S. consulate refused to issue

the F-2 visa to my wife, even though the visa had already been approved. The agency that my

wife hired to take her passport to Dubai returned her passport without the visa. My wife and I

were extremely anxious about her and my son’s return to the United States.

       12.     My wife and I continued to try and contact the U.S. consulate to find out how it

refused to issue her visa and how my wife could obtain her visa. My son is too young to travel

on his own so in order to return to the United States he had to return with my wife. After a

federal district judge in Washington temporarily restrained enforcement of the January 27



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Executive Order, my wife contacted the U.S. consulate on February 4, 2017, seeking clarification

about the status of her F-2 visa.

        13.    After much effort on our part, my wife’s visa was issued. The U.S. Consulate in

Dubai issued her a single-entry F-2 visa which was set to expire immediately upon her entry into

the United States.

        14.    My wife and my son were able to travel to the United States on February 19,

2017. We had to pay an additional $400 to change the date of her plane ticket.


III.    Harm From March 6, 2017 Executive Order:


        15.    President Donald Trump signed an Executive Order on March 6, 2017 (March 6

Executive Order) prohibiting the issuance of visas to Iranian citizens.

        16.    The terms of the March 6 Executive Order prohibit the issuance of visas to Iranian

citizens like me and my wife. If and when the Executive Order goes into effect, my wife and I

will be unable to travel outside of the United States because we will be unable to receive new

visas to reenter the United States. As a result, my wife, son and I will face indefinite separation

from our families in Iran.

        17.    I will also risk losing my job if I travel outside the United States and am barred

from reentry due to my inability to receive a new visa.

        18.    I fear that U.S. government will retaliate against me and my family because of my

involvement in this lawsuit. I am especially concerned about any future visa applications that my

wife and I wish to submit, or any treatment that we may face at the border to the United States

when we do travel.




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     Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 193 of 219




       I, John Doe #5, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.


Executed this _13_ day of March, 2017, in _Amherst, NY_.

                                                           _______/s/ John Doe #5________
                                                           John Doe #5, on behalf of himself
                                                           and his minor child, Baby Doe # 1




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                         EXHIBIT 18A
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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,
Iranian American Bar Association,
National Iranian American Council,
Public Affairs Alliance Of Iranian Americans,
Inc. et al.,

       Plaintiffs,

v.                                                              Civil Action No.

Donald J. Trump, President of the United States,
et al.


       Defendants.


                  DECLARATION OF JOHN DOE #7 IN SUPPORT OF
               PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, John Doe #7, hereby declare and state as

follows:

       1.      I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.


I.     Background:


       2.      I am an Iranian citizen currently living in Turkey and seeking to be admitted to

the United States as a refugee.

       3       I have been in a loving committed relationship with my partner, John Doe # 8, for

many years. My partner and I were both born and raised in Iran. Both of us also grew up in




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Muslim households. The Muslim community in Iran has not been accepting of our sexual

orientation.

        4.      My partner and I lived together in Iran for eight years. Because of this, we

experienced harassment from the Iranian people. Most or all of this harassment stemmed from

religious intolerance for same-sex couples in Iran. Our neighbors were suspicious of us because

we were two men living together. On several occasions our neighbors reported us to the Iranian

police. We lived in constant fear that we would be taken by government officials, who tolerate

and even encourage violence against same-sex couples in Iran. I have heard of homosexual men

being-arrested-and-beaterirrrantarrprisoris-:—Wtm to pped-arTswerinwthu-driorbermseuTT

very afraid of the police coming to arrest us. The harassment also made us feel unwanted in Iran.

We were forced to move at least three different times because either landlord or the neighbors

complained. The harassment was so strong that we constantly feared for our safety and, were

forced to flee Iran.

        5.      My partner and I have been living in exile in Turkey for approximately 27

months. Our life in Turkey has been very difficult. We live in a small town where many people

do not accept our relationship and we live in fear of violence against us. In this atmosphere, we

are constantly afraid for our safety. Both my partner and I worked full time when we lived in

Iran. We are not allowed to work in Turkey.

        6.      My partner is very ill. He was diagnosed with colitis and he experiences a lot of

physical pain. Our sub-standard living conditions worsen his health conditions. We need to go

to a country where he can recover and we can get adequate medical care.

      •7.       My partner and I are in a terrible situation. Because of our sexual orientation, we

were unsafe in Iran and are unsafe in Turkey. We have applied for refugee status and would like



                                                 2
Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 197 of 219




to be resettled to the United States where we will be safe from persecution and where my partner

can receive treatment for his medical condition. We reached out to the Office of the UN High

Commissioner for Refugees (UNHCR) after we arrived in Turkey and told them we wished to be

referred to the U.S. Refugee Admissions Program. After a lengthy interview and vetting process,

UNHCR agreed to our application for refugee status, gave us documentation of that approval,

and referred us to the U.S. Refugee Admissions Program. We are now waiting for the decision

of the United States on acceptance to the program. We know that the United States Refugee

Admissions Program has admitted to the program many same-sex applicants and are waiting to

be processed. It has been approximately 120 days since we received the certificates from the UN

and referral to the US admissions program.


II.     Harm Suffered Post January 27, 2017 Executive Order:


        8.    I am aware that, on January 27, 2017, President Trump signed an Executive Order

(EO) that impacts the refugee admissions process for citizens from certain countries, including

Iran.

        9.    My partner and I check the website icmc.net, a website referred to us by the

United Nations, nearly every day to keep track of our status in the U.S. refugee admissions

process. After the EO was signed, the website posted a notice informing us that refugees and

refugee applicants from Iran pending admission to the U.S. program could not travel to the

United States due to the EO.

        10.    The EO has caused us great distress. My partner and I are very concerned about

whether we will ever be approved by the United States to participate in the Refugee Admissions

Program.



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       11.     Since the EO was issued my partner's health has severely worsened. He is not

able to obtain the medical care needed where we live now. I also fear that his heath will continue

to decline because we are experiencing so much anxiety and uncertainty surrounding the EO and

its impact on our refugee applications.

       12.     My partner and I fear that U.S. government will retaliate against us because of our

involvement in this lawsuit. We are concerned that our involvement will impact our acceptance

in the Refugee Admission Program and harm our chances to be approved by the United States.

We also fear persecution from the Iranian government if it were to become aware of our

application for refugee status in the United States, or our involvement in this lawsuit.




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       I, John Doe #7, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.


Executed this 8th day of February, 2017, in Denizli, Turkey.

                                                           /s/ John Doe #7
                                                           John Doe #7




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                         EXHIBIT 18B
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                          THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )             Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )



             SUPPLEMENTAL DECLARATION OF JOHN DOE #7
    IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

         Pursuant to Title 28 U.S.C. Section 1746, I, John Doe #7, hereby declare and state as

follows:

         1.     I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.

         2.     This declaration supplements the declaration I, John Doe #7, previously submitted

in support of Plaintiffs’ Motion for Preliminary Injunction filed with the Court on February 8,

2017.

         3.     The Executive Order signed by President Trump on January 27, 2017, continues

to cause my partner, John Doe #8, and I great distress. Since submitting our prior declarations,

we still have not received any notifications from the U.S. government or its affiliates regarding

the status of our applications to be admitted to the U.S. Refugees Admissions Program. We

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     Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 202 of 219




continue to be very concerned about whether we will ever be approved by the United States to

participate in the Refugee Admissions Program.        My partner’s health continues to worsen

because of the ongoing stress, anxiety, and uncertainty surrounding the Executive Order and its

impact on our refugee applications. He is still unable to obtain the medical care needed where

we live now.

       4.      As of February 17, 2017, the International Catholic Migration Commission

(ICMC) was responding to email inquiries about the status of refugee applications with the

following message: “As stated in the Executive Order signed by the President, the United States

government has suspended all refugee admissions for 120 days effective January 27, 2017. The

Resettlement Support Center (RSC) Turkey and Middle East (TuME) will continue to maintain

all case information and biodata on file for all refugees who have been referred for resettlement

to the United States. You may write to info.rsc@icmc.net ; call Istanbul office at +90 212 219

2055 or call Beirut office at +961 1 612245/ +961 1 612246 (Monday-Friday between 13:00-

15:00) with questions or if you wish to provide information on emergency situations or update

your contact information. Please note the RSC will not be able to provide further information

regarding the 120-day suspension at this time.”

       5.      My partner and I continue to check the International Catholic Migration

Commission (ICMC) website every day. On or about February 23, 2017, the ICMC website had

been updated to state, “Case status information is currently unavailable. Please contact RSC

TuME at info.rsc@icmc.net; call Istanbul office at +90 212 219 2055 or call Beirut office at

+961 1 612245/ +961 1 612246 (Monday-Friday between 13:00-15:00) with questions or if you

wish to provide information on emergency situations or update your contact information.”




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       I, John Doe #7, declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct to the best of my knowledge.


Executed this _28_ day of February, 2017, in __Denizli, Turkey___.

                                                           _____/s/ John Doe #7_____
                                                                  John Doe #7
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                         EXHIBIT 19A
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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,
Iranian American Bar Association,
National Iranian American Council,
Public Affairs Alliance Of Iranian Americans,
Inc. et al.,

       Plaintiffs,

v.                                                              Civil Action No.

Donald J. Trump, President of the United States,
et al.


       Defendants.


                  DECLARATION OF JOHN DOE #8 IN SUPPORT OF
               PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Title 28 U.S.C. Section 1746, I, John Doe #8, hereby declare and state as

follows:

       1.      I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.


I.     Background:


       2.      I am an Iranian citizen currently living in Turkey and seeking to be admitted to

the United States as a refugee.

        3.     I have been in a loving committed relationship with my partner, John Doe # 7, for

many years. My partner and I were both born and raised in Iran. Both of us also grew up in




                                                   l
Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 206 of 219




Muslim households. The Muslim community in Iran has not been accepting of our sexual

orientation.

        4.      My partner and I lived together in Iran for eight years. Because of this, we

experienced harassment from the Iranian people. Most or all of this harassment stemmed from

religious intolerance for same-sex couples in Iran. Our neighbors were suspicious of us because

we were two men living together. On several occasions our neighbors reported us to the Iranian

police. We lived in constant fear that we would be taken by government officials, who tolerate

and even encourage violence against same-sex couples in Iran. I have heard of homosexual men

being arrested and beaten in• Iranian prisons. We stopped answering the door because we were

very afraid of the police coming to arrest us. The harassment also made us feel unwanted in Iran.

We were forced to move at least three different times because either landlord or the neighbors

complained. The harassment was so strong that we constantly feared for our safety and were

forced to flee Iran.

        5.      My partner and I have been living in exile in Turkey for approximately 27

months. Our life in Turkey has been very difficult. We live in a small town where many people

do not accept our relationship and we live in fear of violence against us. In this atmosphere, we

are constantly afraid for our safety. It has been very difficult for us to find employment.

        6.      I am very ill. I was diagnosed with colitis and experience a lot of physical pain.

Our' sub-standard living conditions worsen my health conditions. We need to go to a country

where I can recover and get adequate medical care.

        7.      My partner and I are in a terrible situation. Because of our sexual orientation, we

were unsafe in Iran and are unsafe in Turkey. We have applied for refugee status and would like

to be resettled to the United States where we will be safe from persecution and where I can
Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 207 of 219




receive treatment for my medical condition. We reached out to the Office of the UN High

Commissioner for Refugees (UNHCR) after we arrived in Turkey and told them we wished to be

referred to the U.S. Refugee Admissions Program. After a lengthy interview and vetting process,

UNHCR agreed to our application for refugee status, gave us documentation of that approval,

and referred us to the U.S. Refugee Admissions Program. We are now waiting for the decision

of the United States on acceptance to the program. We know that the United States Refugee

Admissions Program has admitted to the program many same-sex applicants and are waiting to

be processed. It has been approximately 120 days since we received the certificates from the UN

and referral to the US admissions program.


II.     Harm Suffered Post January 27, 2017 Executive Order:


        8.    I am aware that, on January 27, 2017, President Trump signed an Executive Order

(EO) that impacts the refugee admissions process for citizens from certain countries, including

Iran.

        9.    My partner and I check the website icmc.net nearly every day to keep track of our

status in the U.S. refugee admissions process. After the EO was signed, the website pcisted a

notice informing us that refugees and refugee applicants from Iran pending admission to the U.S.

program could not travel to the United States due to the EO.

        10.    The EO has caused us great distress. My partner and I are very concerned about

whether we will ever be approved by the United States to participate in the Refugee Admissions

Program.

        11.    Since the EO was issued my health has severely worsened. I am unable to obtain

the medical care needed where we live now. The anxiety and uncertainty surrounding the EO



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Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 208 of 219




and its impact on our refugee applications has also caused my health to worsen because of the

additional stress.

        12.     My partner and I fear that U.S. government will retaliate against us because of our

involvement in this lawsuit. We are concerned that our involvement will impact our acceptance

in the Refugee Admission Program and harm our chances to be approved by the United States.

We also fear persecution from the Iranian government if it were to become aware of our

application for refugee status in the United States, or our involvement in this lawsuit.




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       I, John Doe #8, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.


Executed this 8th day of February, 2017, in Denizli, Turkey.

                                                           /s/ John Doe #8
                                                           John Doe #8




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Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 210 of 219




                         EXHIBIT 19B
        Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 211 of 219




                          THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                       Plaintiffs,               )
                                                 )
        v.                                       )             Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                      Defendants.                )



             SUPPLEMENTAL DECLARATION OF JOHN DOE #8
    IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

         Pursuant to Title 28 U.S.C. Section 1746, I, John Doe #8, hereby declare and state as

follows:

         1.     I am over the age of eighteen years, and I have personal knowledge of the facts

set forth herein or believe them to be true based on my experience or upon information provided

to me by others. If asked to do so, I could testify truthfully about the matters contained herein.

         2.     This declaration supplements the declaration I, John Doe #8, previously submitted

in support of Plaintiffs’ Motion for Preliminary Injunction filed with the Court on February 8,

2017.

         3.     The Executive Order signed by President Trump on January 27, 2017, continues

to cause my partner, John Doe #7, and I great distress. Since submitting our prior declarations,

we still have not received any notifications from the U.S. government or its affiliates regarding

the status of our applications to be admitted to the U.S. Refugees Admissions Program. We

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continue to be very concerned about whether we will ever be approved by the United States to

participate in the Refugee Admissions Program. My health continues to worsen because of the

ongoing stress, anxiety, and uncertainty surrounding the Executive Order and its impact on our

refugee applications. I am still unable to obtain the medical care needed where we live now.

       4.     As of February 17, 2017, the International Catholic Migration Commission

(ICMC) was responding to email inquiries about the status of refugee applications with the

following message: “As stated in the Executive Order signed by the President, the United States

government has suspended all refugee admissions for 120 days effective January 27, 2017. The

Resettlement Support Center (RSC) Turkey and Middle East (TuME) will continue to maintain

all case information and biodata on file for all refugees who have been referred for resettlement

to the United States. You may write to info.rsc@icmc.net ; call Istanbul office at +90 212 219

2055 or call Beirut office at +961 1 612245/ +961 1 612246 (Monday-Friday between 13:00-

15:00) with questions or if you wish to provide information on emergency situations or update

your contact information. Please note the RSC will not be able to provide further information

regarding the 120-day suspension at this time.”

       5.     My partner and I continue to check the International Catholic Migration

Commission (ICMC) website every day. On or about February 23, 2017, the ICMC website had

been updated to state, “Case status information is currently unavailable. Please contact RSC

TuME at info.rsc@icmc.net; call Istanbul office at +90 212 219 2055 or call Beirut office at

+961 1 612245/ +961 1 612246 (Monday-Friday between 13:00-15:00) with questions or if you

wish to provide information on emergency situations or update your contact information.”




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     Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 213 of 219




       I, John Doe #8, declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct to the best of my knowledge.


Executed this _28_ day of February, 2017, in __Denizli, Turkey___.

                                                           _____/s/ John Doe #8_____
                                                                  John Doe #8
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                         EXHIBIT 20
      Case 1:17-cv-00255-TSC Document 35-2 Filed 03/15/17 Page 215 of 219




                         THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
Pars Equality Center,                            )
Iranian American Bar Association,                )
National Iranian American Council,               )
Public Affairs Alliance of Iranian Americans,    )
Inc. et al,                                      )
                                                 )
                         Plaintiffs,             )
                                                 )
          v.                                     ) Civil Action No. 17-255
                                                 )
Donald J. Trump, President of the United States, )
et al.                                           )
                                                 )
                                                 )
                       Defendants.               )


            DECLARATION OF RICHARD M. PETTIGREW IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUCNTION

       Pursuant to Title 28 U.S.C. Section 1746, I, Richard M. Pettigrew, PhD, RPA, declare

and state as follows:

       1.      I am over the age of eighteen years, and I have personal knowledge of the facts

set forth here or believe them to be true based on my experience or upon information provided to

me by others. If asked to do so, I could testify truthfully about the matters contained here.

       2.      I am an established consulting archaeologist in Eugene, Oregon, with 43 years of

experience in western North America. I have a Ph.D. in Anthropology from the University of

Oregon and am a Registered Professional Archeologist. I have written, taught and conducted

research on hundreds of projects in the Pacific Northwest in both the academic and private

sectors and I have published numerous technical works. In 2006, I received the Society for




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American Archaeology Award for Excellence in Public Education, in recognition of my

worldwide leadership in public education about archaeology and cultural heritage.

       3.      I am the founder and Executive Director and President of Archaeological Legacy

Institute, a 501(c)(3) nonprofit corporation in Eugene, Oregon. My duties include managing the

annual The Archaeology Channel International Film Festival in Eugene, now in its 14th year.

I am also an experienced producer of cultural heritage films and I have served on film festival

juries in France, Germany, Iran, and Italy.

       4.      The Festival, scheduled for May 3-6, 2017, features 4 days of screenings of juried

films and videos on archeological and indigenous topics, followed by an awards reception.

       5.      In recent years, we have added a three-day conference (The Archaeology

Channel Conference on Cultural Heritage Media), for presentations, discussions, and exhibits

on cultural heritage media covering the same time period. This conference is an unparalleled

worldwide networking opportunity for cultural heritage film makers, including writers, directors,

producers, broadcasters, and distributors, to engage with each other and with those interested in

the making and uses of cultural heritage media – including archaeologists, educators, artists,

journalists, and indigenous organizations.

       6.      Through the Festival and the Conference, Archaeological Legacy Institute seeks

to promote, study and preserve cultural heritage.

       7.      This year, our Festival and Conference are suffering significant harmful impacts

from President Trump’s executive orders which have the purpose and effect of barring

individuals traveling to the United States from majority-Muslim countries, including Iran, for no

other reason than their identity as nationals of majority-Muslim countries. These include the

January 27, 2017, Executive Order, “Protecting the Nation from Foreign Terrorist Entry Into the



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United States” (“January 27 Executive Order”) and the subsequent March 6, 2017, Executive

Order of the same name (“March 6 Executive Order”) expected to go into effect on March 16.

       8.      In 2017, there are six Iranian citizens and one citizen of Libya who are planning

to attend whose participation is currently foreclosed due to these executive orders. All but one

(the Libyan) have applied for visas and completed their interviews, but have yet to receive their

visas. They have been told their applications are undergoing “administrative processing” – a

further step that the state department sometimes requires, and which can take up to 60 days to

complete. The current restrictions imposed by the January 27 Executive Order have been lifted

by the courts and their applications have been proceeding up until now. But on March 16, when

the March 6 Executive Order goes into effect, new restrictions will apply that may make it

impossible for them to come. Because the Conference is less than 8 weeks away, there is very

little time to determine whether they are eligible for a waiver and to complete that process –

which will impose an unknown period of delay and has no guarantee of success. The March 6th

Executive Order places unusual burdens and uncertainties on them by requiring this separate and

extra process due to their national origin.

       9.      From my perspective, the prospects for their participation are dismal.

       10.     This will have negative impacts on our event, our partners, and the local Eugene

economy. Two of our Iranian guests are financially sponsored by a State Department cultural

exchange program, and we also been awarded a grant from a consortium of universities to

support their participation, in order to facilitate cultural exchange. Those grants will be wasted if

the individuals cannot obtain visas.

       11.     One participant who is a film producer and investor from Shiraz has committed to

providing a $1000 sponsorship, which will be lost to us if that person is unable to obtain a visa



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and travel to the United States. We also will face the loss of these participants’ registration fees,

and Eugene will lose economic opportunities if they cannot reserve hotel rooms and cannot

attend and spend money locally.

       12.     Beyond the financial losses, we will lose their intangible academic and

professional contributions to our Conference, including lost opportunities to develop and support

our worldwide network and experience important cultural exchange. Our program’s mission has

been stymied by these executive orders.

       13.      I am also fearful that Iran may decide to block travel by Americans in retaliation.

We are planning a tour of Iran for Americans in October and I am concerned about whether that

trip will be able to go forward.




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       I, Richard M. Pettigrew, declare under penalty of perjury that the foregoing is true and

correct to the best of my knowledge.

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Executed   this   1O          of Marc h,20l7,in Eugene, OR.


                                                                    Richard M. P6ttigrew,
